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                                                                                                  United States Bankruptcy Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                                                                                                      November 09, 2023
                              UNITED STATES BANKRUPTCY COURT                                          Nathan Ochsner, Clerk
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION
                                                            §
In re:                                                      § Chapter 11
                                                            §
STRUDEL HOLDINGS LLC and                                    § Case No. 23-90757 (CML)
AVR AH LLC,                                                 §
                                                            § (Jointly Administered)
                   Debtors.1                                §
                                                            §

         ORDER (A) AUTHORIZING AND APPROVING THE SALE OF ASSETS
         FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES AND
    OTHER INTERESTS, (B) APPROVING THE PURCHASE AND SALE AGREEMENT,
       (C) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
             EXECUTORY CONTRACTS AND UNEXPIRED LEASES, AND
                       (D) GRANTING RELATED RELIEF
                             (Relates to Doc. No. 5)

         This matter is before the Court on the motion (the “Sale Motion”) filed by the above-

captioned debtors and debtors-in-possession (collectively, the “Debtors”) for entry of an order (this

“Order”) (a) authorizing and approving the sale (the “Sale”) of the Property2 free and clear of all

Liens, claims and interests of any kind or nature whatsoever pursuant to that certain Purchase and

Sale Agreement (the “Agreement”), in substantially the form attached as Exhibit A to this Order,

by and among AVR AH, LLC (“Seller”) and Chiron AVR LLC, a Delaware limited liability

company (as assignee of the Loans (as defined in the Agreement) and the Highest and Best Bid

and, together with any of its affiliates that are assignees under the Agreement, the “Purchaser”);

(b) approving the Agreement; (c) authorizing the assumption and assignment of the Assigned




1
        The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number, are: AVR AH LLC (0148) and Strudel Holdings LLC (5426). The Debtors’ service address is: PO Box
4068, Aspen, CO 81612.
2
        All capitalized terms not otherwise defined herein shall have the meanings ascribed in the Sale Motion or the
Agreement, as applicable.
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Contracts; (d) approving the bid received from Fleeger Family First LP (the “Back-Up Bidder”)

as the Back-Up Bidder and authorizing the Debtors to close a sale to the Back-Up Bidder pursuant

to an agreement in substantially the form attached as Exhibit B to this Order, without further order

from this Court, in the event that the Purchaser fails to close; and (e) granting certain related relief;

and the Court having entered the Order (I) Approving the Bidding Procedures, (II) Scheduling

Certain Dates with Respect Thereto, (III) Approving the Form and Manner of Notice Thereof,

(IV) Approving Contract Assumption and Assignment Procedures, and (V) Granting Related

Relief on August 10, 2023 (Doc. No. 53) (the “Bid Procedures Order”); and the Debtors having

determined, after an extensive marketing process, that the Purchaser has submitted the highest or

otherwise best bid for the Property and that the Back-Up Bidder submitted the second highest or

otherwise best bid for the Property; and upon adequate and sufficient notice of the hearing before

the Court on October 27, 2023 (the “Sale Hearing”); and the Court having reviewed and

considered (x) the Sale Motion and all relief related thereto, (y) the objections thereto, if any, and

(z) the statements of counsel and evidence presented in support of the relief requested by the

Debtors at the Sale Hearing; and it appearing that the Court has jurisdiction over this matter; and

it further appearing that the legal and factual bases set forth in the Sale Motion and at the Sale

Hearing establish just cause for the relief granted herein; and it appearing that the relief requested

is in the best interests of the Debtors, their estates and creditors and other parties-in-interest; and

upon the record of the Sale Hearing and all other pleadings and proceedings in these chapter 11

cases, including the Sale Motion; and after due deliberation thereon and good and sufficient cause

appearing therefor, the Court hereby FINDS AND DETERMINES THAT:3


3
         The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. All findings
of fact and conclusions of law announced by the Court at the Sale Hearing in relation to the Sale Motion are
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                          Jurisdiction, Final Order and Statutory Predicates

        A.       This Court has jurisdiction to hear and determine the Sale Motion pursuant to

28 U.S.C. § 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is

proper in this District pursuant to 28 U.S.C. § 1408.

        B.       The statutory predicates for the relief requested in the Sale Motion are sections

105(a), 363 and 365 of title 11 of the United States Code (the “Bankruptcy Code”) and Rules

2002, 6004, 6006, 9007 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”).

                                               Notice of the Sale

        C.       Notice of the sale of the Debtors’ assets and the Sale Hearing was reasonably

calculated to provide all interested parties with timely and proper notice of the Sale and Sale

Hearing.

        D.       As evidenced by the affidavits of service previously filed with the Court, proper,

timely, adequate and sufficient notice of the Sale Hearing, Sale and the transactions contemplated

thereby, including without limitation, the assumption and assignment of the Assigned Contracts to

the Purchaser, was provided in accordance with the orders previously entered by this Court,

sections 105(a), 363 and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006,

9007 and 9008. The notices described herein were good, sufficient and appropriate under the

circumstances, and no other or further notice of the Sale Motion, Sale Hearing, Sale or the

assumption and assignment of the Assigned Contracts to the Purchaser is or shall be required.




incorporated herein to the extent not inconsistent herewith. To the extent that any of the following findings of fact
constitute conclusions of law, they are adopted as such. To the extent any of the following conclusions of law
constitute findings of fact, they are adopted as such.
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        E.       A reasonable opportunity to object and be heard with respect to the Sale and the

Sale Motion and the relief requested therein (including the assumption and assignment of the

Assigned Contracts to the Purchaser and any Cure Costs related thereto), has been afforded to all

interested persons and entities.

                                       Purchaser Credit Bid Rights

        F.       Pursuant to the Stipulation and Agreed Order Regarding Motion Seeking Entry of

an Order Precluding Certain Alleged Secured Parties From Submitting Credit Bids Pursuant to

Sections 105(a) and 363(k) of the Bankruptcy Code [Docket No. 143] (the “Stipulation”), the

Debtors and the Lenders (as defined in the Agreement) agreed that the Lender Parties4 would not

exercise any right to credit bid at the Auction provided that the Debtors receive a bona fide third-

party bid (that otherwise meets the Qualified Bidder requirements set forth in the Bid Procedures

Order) from an entity that is not an insider or affiliate of the Debtors that would result in net cash

sales proceeds of not less than $40 million.

        G.       The Debtors did not receive a bona fide third-party bid (that met the Qualified

Bidder requirements set forth in the Bid Procedures Order) that would result in net cash sales

proceeds of not less than $40 million.

        H.       The Lender Parties submitted a bid (such bid, the “Credit Bid”) under section

363(k) of the Bankruptcy Code consistent with the terms of the Stipulation to purchase the

Property, and the Credit Bid was a valid, proper, bona fide, and arm’s length offer. The aggregate

purchase price to be paid by the Purchaser for the Property by its Credit Bid is $30.5 million (the

“Purchase Price”).




4
 “Lender Parties” refers collectively to Wilmington Trust National Association, as administrative agent, Nineteen77
Capital Solution A LP, and Bermudez Mutuari, Ltd.
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       I.       The Purchaser is the assignee of certain Loans made by the Lenders (as defined in

the Agreement) in an amount equal to the Purchase Price (the “Credit”).

                                      Good Faith Purchaser

       J.       This Order was negotiated and proposed by the Seller and the Purchaser without

collusion, in good faith and from arms’-length bargaining positions.             The Agreement was

negotiated, proposed and entered into by the Seller and the Purchaser without collusion, in good

faith and from arms’-length bargaining positions.

       K.       The Purchaser is not an “insider” or “affiliate” of the Debtors as those terms are

defined in the Bankruptcy Code. Upon the record at the Sale Hearing, the Court finds that the

Purchaser has not acted in a collusive manner with any person, and the Purchase Price was not

controlled by any agreement among the bidders and that there was no evidence presented at the

hearing that would cause or permit the Agreement to be avoided under section 363(n) of the

Bankruptcy Code; provided, however, that the findings in this paragraph shall be subject to

paragraph 46.

       L.       The Purchaser participated in the Auction in good faith and is a good faith buyer

for purposes of section 363(m) of the Bankruptcy Code. The Purchaser (i) subjected its bids to the

competitive bidding procedures set forth in the Bid Procedures Order and at the Auction; and (ii)

disclosed all payments to be made by the Purchaser in connection with the Sale. Upon the record

at the Sale Hearing, the Court finds that the Purchaser and the Lender Parties proceeded in good

faith in connection with all material aspects of the Sale. Accordingly, the Purchaser is entitled to

all of the protections afforded under section 363(m) of the Bankruptcy Code; provided, however,

that any finding of good faith in this Order shall be subject to paragraph 46.
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                                 Winning Bid and Back-Up Bid

       M.      The Purchaser submitted the highest and best offer for the Property. In accordance

with the Bid Procedures Order, as amended by the Second Notice of Amended Bid Deadlines (Doc.

No. 145), potential bidders were afforded a reasonable opportunity to submit bids by September

29, 2023. In accordance with the terms of the Bid Procedures Order, the Debtors received two

Qualified Bids and the Lender Parties Credit Bid. Accordingly, the Debtors conducted the Auction

on October 4, 2023.

       N.      At the conclusion of the Auction, the Debtors designated the Credit Bid from the

Purchaser as Highest and Best Bid pursuant to the Bid Procedures Order. No other entity or group

of entities offered to purchase the Property on higher and better terms to the Debtors’ estates than

the Purchaser at the auction.

       O.      On October 16, 2023, the Back-Up Bidder submitted a bid to the Debtors increasing

its purchase price to $30 million. On October 18, 2023, the Purchaser submitted a bid to the

Debtors increasing its purchase price to $30.5 million.        The Debtors’ determined that the

Purchaser’s revised bid is the Highest and Best Bid. The Debtors’ determination that the

Agreement constitutes the highest and best offer for the Property is a good, valid and sound

exercise of the Debtors’ business judgment.

       P.      The Debtors designated the bid from the Back-Up Bidder as the Back-Up Bid

pursuant to the Bid Procedures Order. Except for the Purchaser, no other entity or group of entities

offered to purchase the Property on higher and better terms to the Debtors’ estates than the Back-

Up Bidder at the auction. The Debtors’ designation of the Back-Up Bidder is a good, valid and

sound exercise of the Debtors’ business judgment.
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                                      No Fraudulent Transfer

        Q.      The consideration provided by the Purchaser pursuant to the Agreement (i) is the

highest or otherwise best offer for the Property, (ii) will provide a greater recovery for the Debtors’

estates than would be provided by any other available alternative, and (iii) constitutes fair

consideration and reasonably equivalent value (as those terms are defined in each of the Uniform

Fraudulent Transfer Act, Uniform Voidable Transactions Act, Uniform Fraudulent Conveyance Act

and section 548 of the Bankruptcy Code and any other similar statute or common law rule) and

fair consideration under the Bankruptcy Code and under the laws of the United States, any state,

territory, possession or the District of Columbia. The Debtors’ determination that the Agreement

constitutes the highest or otherwise best offer for the Property constitutes a valid and sound

exercise of the Debtors’ business judgment. Approval of the Sale Motion and the Agreement, and

the consummation of the transactions contemplated thereby and by this Order, is in the best

interests of the Debtors, their estates, creditors and other parties-in-interest.

        R.      The Purchaser is not a mere continuation of any of the Debtors or their estates and

there is no continuity of enterprise between the Purchaser and any of the Debtors. The Purchaser

is not holding itself out to the public as a continuation of any of the Debtors. The Purchaser is not

a successor to any of the Debtors or their estates and the Sale does not amount to a consolidation,

merger or de facto merger of Purchaser and any of the Debtors.

                                        Validity of Transfer

        S.      The Debtors have (i) full corporate power and authority to execute and deliver the

Agreement and all other documents contemplated thereby, (ii) all corporate authority necessary to

consummate the transactions contemplated by the Agreement and (iii) taken all corporate and

partnership action necessary to authorize and approve the Agreement and the consummation of the

transactions contemplated thereby. The Sale has been duly and validly authorized by all necessary
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corporate action. No consents or approvals, other than those expressly provided for in the

Agreement, are required for the Debtors to consummate the Sale, Agreement or transactions

contemplated thereby. The sole member of the Seller has approved the Sale and the Agreement.

        T.      The Agreement was not entered into for the purpose of hindering, delaying or

defrauding creditors under the Bankruptcy Code or under the laws of the United States, any state,

territory, possession or the District of Columbia. Neither the Debtors nor the Purchaser are

fraudulently entering into the transaction contemplated by the Agreement.

        U.      The Debtors have good and marketable title to the Property and are lawful owners

of the Property. Pursuant to section 363(f) of the Bankruptcy Code, the transfer of the Property to

the Purchaser will be, as of the Closing Date (as defined below), a legal, valid and effective transfer

of the Property, which transfer vests or will vest the Purchaser with all right, title, and interest of

the Seller to the Property free and clear of (i) all liens (as that term is defined in section 101(37)

of the Bankruptcy Code), claims, encumbrances, and interests (including any right of first offer or

refusal regarding or option to purchase any real property) relating to, accruing or arising any time

prior to the Closing Date (collectively, the “Liens”) and (ii) all debts arising under, relating to or

in connection with any act of the Debtors or claims (as that term is defined in section 101(5) of the

Bankruptcy Code), liabilities, obligations, demands, guaranties, options, rights, contractual

commitments, restrictions, interests and matters of any kind and nature, whether arising prior to or

subsequent to the commencement of these cases, and whether imposed by agreement,

understanding, law, equity or otherwise (including, without limitation, rights with respect to

Claims (defined below) and Liens (x) that purport to give to any party a right of setoff or

recoupment against, or a right or option to effect any forfeiture, modification, profit sharing

interest, right of first refusal, purchase or repurchase right or option, or termination of, the Debtors’
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or the Purchaser’s interests in the Property, or any similar rights, or (y) in respect of taxes,

restrictions, rights of first refusal, charges of interests of any kind or nature, if any, including,

without limitation, any restriction of use, voting, transfer, receipt of income or other exercise of

any attributes of ownership) (collectively, as defined in this clause (ii), “Claims”), relating to,

accruing or arising any time prior to the Closing Date, except as expressly provided in this Order

or the Agreement.

                                    Section 363(f) Is Satisfied

       V.      The conditions of section 363(f) of the Bankruptcy Code have been satisfied in full;

therefore, the Debtors may sell the Property free and clear of any Liens, Claims, and/or interests

in the Property.

       W.      The Debtors may sell the Property free and clear of all Liens, Claims and other

interests of any kind or nature whatsoever against the Debtors, their estates or any of the Property

(except as otherwise provided in this Order or the Agreement) because, in each case, one or more

of the standards set forth in section 363(f)(1)–(5) of the Bankruptcy Code has been satisfied. Those

holders of Liens or Claims against the Debtors, their estates or any of the Property who did not

object or who withdrew their objections to the Sale or the Sale Motion are deemed to have

consented pursuant to section 363(f)(2) of the Bankruptcy Code.

                          Compelling Circumstances for an Immediate Sale

       X.      Good and sufficient reasons for approval of the Agreement and the Sale have been

articulated. The relief requested in the Sale Motion is in the best interests of the Debtors, their

estates, their creditors and other parties-in-interest. The Debtors have demonstrated (i) good,

sufficient and sound business purposes and justifications for approving the Agreement and

(ii) compelling circumstances for the Sale outside of the ordinary course of business, pursuant to

section 363(b) of the Bankruptcy Code.
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        Y.      Given all of the circumstances of these chapter 11 cases, the proposed Sale

constitutes a reasonable and sound exercise of the Debtors’ business judgment and should be

approved.

        Z.      The Sale does not constitute a sub rosa chapter 11 plan for which approval has been

sought without the protections that a disclosure statement would afford. The Sale neither

impermissibly restructures the rights of the Debtors’ creditors nor impermissibly dictates a

liquidating plan of reorganization for the Debtors.

        AA.     The consummation of the Sale and the assumption and assignment of the Assigned

Contracts is legal, valid and properly authorized under all applicable provisions of the Bankruptcy

Code, including, without limitation, sections 105(a), 363(b), 363(f), 363(m), and 365 thereof.

                          Adequate Assurance of Future Performance

        BB.     The Purchaser has demonstrated adequate assurance of future performance with

respect to the Assigned Contracts pursuant to section 365(b)(1)(C) of the Bankruptcy Code.

        NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

                                         General Provisions

        1.      The relief requested in the Sale Motion, including the Sale, is granted and approved

to the extent and as set forth in this Order.

        2.      Any objections to the Sale Motion or the relief requested therein that have not been

withdrawn, waived or settled by announcement to the Court during the Sale Hearing, the

provisions of this Order, or by stipulation filed with the Court, including any and all reservations

of rights included in such objections or otherwise (except the reservations of right and objections

expressly preserved in this Order), are hereby denied and overruled with prejudice. Those parties

who did not object or withdrew their objections to the Sale Motion are deemed to have consented
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pursuant to section 363(f)(2) of the Bankruptcy Code to the Sale of the Property in accordance

with the terms of this Order.

                                    Approval of the Agreement

       3.      The Agreement as modified by this Order and all of the terms and conditions

thereof are hereby approved.

       4.      Subject to paragraph 46, the sale of the Property and the consideration provided by

the Purchaser under the Agreement as determined by the Auction shall be deemed for all purposes

to constitute a transfer for reasonably equivalent value and fair consideration under the Bankruptcy

Code and any other applicable law.

       5.      Pursuant to sections 363(b) and (f) of the Bankruptcy Code, the Debtors are

authorized and empowered to take any and all actions necessary or appropriate to (i) consummate

the Sale pursuant to and in accordance with the terms and conditions of the Agreement, (ii) close

the Sale as contemplated in the Agreement and this Order, and (iii) execute and deliver, perform

under, consummate, implement and fully close the Agreement, including the assumption and

assignment of the Assigned Contracts to the Purchaser, together with all additional instruments

and documents that may be reasonably necessary or desirable to implement the Agreement and the

Sale. The Purchaser shall not be required to seek or obtain relief from the automatic stay under

section 362 of the Bankruptcy Code to enforce any of its remedies under the Agreement or any

other Sale-related document. The automatic stay imposed by section 362 of the Bankruptcy Code

is modified solely to the extent necessary to implement the preceding sentence and the other

provisions of this Order.

       6.      This Order shall be binding in all respects upon (a) the Debtors, (b) their estates,

(c) all creditors of, and holders of equity interests in, the Debtors, (d) all holders of Liens, Claims

or other interests (whether known or unknown) in, against or on all or any portion of the Property,
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(e) the Purchaser and all successors and assigns of the Purchaser, (f) the Property and (g) any

trustees, if any, subsequently appointed in the Debtors’ chapter 11 cases or upon a conversion of

these cases to cases under chapter 7 under the Bankruptcy Code. This Order and the Agreement

shall inure to the benefit of the Debtors, their estates and creditors, the Purchaser and the respective

successors and assigns of each of the foregoing. The findings with respect to the Purchaser shall

be deemed findings with respect to the Lender Parties and the findings with respect to the Lender

Parties shall be deemed findings with respect to the Purchaser.

                                 Approval of the Back-Up Bidder

       7.      In the event Purchaser fails to close the sale on or before November 22, 2023, the

Debtors shall, in accordance with the terms of the Agreement and in this Order, to terminate the

Agreement, retain the Deposit (as defined in the Agreement and on the terms set forth in paragraph

2(d) of the Agreement), and shall accept the bid of the Back-up Bidder and proceed to close a sale

based on the terms of the Purchase and Sale Agreement with the Back-up Bidder dated October

24, 2023. The Debtors shall file a notice with the Court, no later than November 23, 2023, that

they intend to close a sale to the Back-Up-Bidder. The Debtors shall close a sale to the Back-Up

Bidder without further order from this Court, the Back-Up Bidder shall automatically be entitled

to all rights and protections of the Purchaser under the terms of this Order and all findings of fact

contained herein shall apply to the Back-Up Bidder to the same extent as set forth regarding the

Purchaser in the event that the Purchaser fails to Close on or before November 23, 2023. However,

the Back-Up Bidder shall be released from any obligations under this Order or the Bid Procedures

order as of November 30, 2023, and the Debtor shall return the Back-Up Bidder’s deposit by

December 2, 2023, provided, however, that the Back-Up Bidder may, in its sole discretion, extend

the November 30, 2023 date one or more times, by written notice to the Debtors, prior to the
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expiration of the then-current termination date, in which event the December 2, 2023 date shall be

likewise extended for a period of four (4) calendar days from the then-current extended date

established by the Back-Up Bidder.

                                      Transfer of the Assets

       8.      Pursuant to sections 105(a), 363(b), and 363(f) of the Bankruptcy Code, the Debtors

are authorized to transfer the Property to the Purchaser on the Closing Date upon satisfaction and

fulfillment or waiver of the conditions to Closing contained in the Agreement, and such transfer

shall (a) constitute a legal, valid, binding and effective transfer of the Property, (b) vest the

Purchaser with title to the Property and (c) upon the Debtors’ receipt of the Purchase Price by

credit to reduce the Loans, be free and clear of all Liens, Claims and other interests of any kind or

nature whatsoever (other than as provided in this Order or the Agreement), including but not

limited to, successor or successor-in-interest liability and Claims, with such Liens, including

mechanics, materialmen and subcontractor Liens and rights to receive payment of trust funds,

Claims and other interests to attach to the proceeds of the Sale in the order of their priority, with

the same validity, force and effect which they now have as against the Property. Notwithstanding

anything to the contrary in this Order or the Agreement, the “Closing Date” shall occur no later

than November 22, 2023.

               9.      At the Closing the Lender Parties shall provide, at their election, either (a)

a surety bond in the amount of the Purchase Price or (b) an amount in cash equal to the Purchase

Price (less the Deposit) to be held in an interest-bearing account by the Title Company, in the case

of either (a) or (b), to secure the extent of any obligations of Purchaser and/or the Lender Parties,

as applicable, to Debtor to pay all or a portion of the Purchase Price in cash, in the event that a

court of competent jurisdiction determines by Final Order (as defined in the Agreement) in the
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Adversary Proceeding5 commenced by the Debtors and the Other Plaintiffs6 or in any other

proceeding in a court of competent jurisdiction adjudicating the Lender Parties’ claims with respect

to the Obligations (as defined in the Loan Agreements), that the amount due by Debtor and the

Other Plaintiffs to the Lender Parties and/or Purchaser (as applicable) on account of the Lender

Parties’ claims with respect to the Obligations (as defined in the Loan Agreements) is less than the

Purchase Price. For the avoidance of doubt, the security provided by the Purchaser and the Lender

Parties to the Debtors and the Other Plaintiffs pursuant to this paragraph and the Agreement shall

only be available to the Debtors and the Other Plaintiffs to the extent a court of competent

jurisdiction disallows the Lender Parties’ claims and liens or finds by Final Order that the Lender

Parties and/or the Purchaser do not have a valid first priority lien and claim in an amount equal to

the Purchase Price, and only to the extent of the difference between (x) the Purchase Price and (y)

the amount of the Lender Parties and/or Purchaser’s allowed first priority lien and claim against

the Property as determined by the Final Order.

        10.      In the event that the Closing Date has not occurred in accordance with the

Agreement (for reasons other than Debtors’ breach of the Agreement), the Debtors shall provide a

written notice to the Purchaser of a termination of the Agreement on November 23, 2023, and shall

concurrently provide notice to the Back-Up Bidder to close the Back-Up Bidder Agreement by

November 30, 2023, should the Back-Up Bidder Agreement still be valid in accordance with

paragraph 7, above.




5
 “Adversary Proceeding” means in AVR AH LLC et al. v. Nineteen77 Capital Solutions A LP, et al., Adv. Pro. No.
23-9003 (the “Adversary Proceeding”).
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       11.     Upon the Closing (as defined in the Agreement), the Purchaser shall take title to

and possession of the Property subject only to the Assumed Liabilities, if any, and any interests

expressly provided for in this Order.

       12.     Upon either (i) entry of a Final Order in the Adversary Proceeding or (ii) the closing

shall occur with the Back-Up Bidder, only after termination of the Agreement with the Purchaser

(in accordance with the terms of the Agreement), any and all liens, deeds of trust, claims, security

interests, encumbrances and interests of any kind and nature (collectively, the “Lenders’ Claims”),

held by the Lender Parties or assignees of the Loans (as defined in the Agreement), are

unconditionally released and extinguished with respect to the HOA Assets, which are:

   a. HOA Real Property: All of Seller’s and all of Aspen Valley Ranch Homeowners’

       Association, Inc.’s (the “HOA”) right, title, and interest in and to the land legally described

       on Exhibit C attached hereto, together with all easements, licenses, crossing permits,

       appurtenances and other rights, privileges and benefits appurtenant thereto and any land

       lying in the bed of any street, road, avenue, open or proposed, public or private, in front of

       or adjoining the said land or any portion thereof, to the center line thereof (collectively, the

       “HOA Land”), all residential and non-residential improvements thereon (including

       without limitation any water and sewage facilities and underground conduits located on the

       HOA Land and owned by Seller) (collectively, the “HOA Improvements”), and all oil,

       gas and other minerals and all oil, gas and other mineral rights. The HOA Land and, the

       HOA Improvements are collectively referred to as the “HOA Real Property”;

   b. HOA Intangible Property: All of Seller’s and all of the HOA’s right, title, and interest in

       and to all design and other professional contracts pertaining to the design or construction

       of the HOA Improvements or any proposed improvements for the HOA Real Property and
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       all service and other contracts in effect as of August 20, 2021, relating to the HOA Real

       Property, hereto assignable permits, site plans, certificates of occupancy, transferrable

       development rights, development rights, plans and entitlements, and other public approvals

       if and to the extent related to the HOA Real Property, if any (the “HOA Intangible

       Property”); and

   c. HOA Personal Property. All of Seller’s and all of the HOA’s right, title, and interest in and

       to all furniture, furnishings, and appliances located in any residences or structures on the

       Property, fitness equipment, kitchen appliances and equipment, games of amusement,

       recreational vehicles, motorcycles, automobiles, tractors, wagons, snowmobiles, trailers,

       irrigation equipment, haying equipment, farming equipment, tools, supplies, machinery,

       apparatus and other equipment used in the use, operation, enjoyment, management, repair

       and maintenance of the HOA Land and the HOA Improvements, and all other personal

       property owned by Seller and on the HOA Real Property as of August 20, 2021, as more

       fully detailed in Exhibit D, hereto (the “HOA Personal Property”).

   d. Collectively, the HOA Real Property, the HOA Intangible Property and the HOA Personal

       Property are referred to herein as the “HOA Assets”).

       13.     Neither the Lenders Parties, any assignees of the Loans and/or the Lenders’ Claims,

nor the Purchaser shall foreclose on the HOA Assets prior to entry of a Final Order in the Adversary

Proceeding, and with further order of the Court. The Debtors shall not commence any avoidance

action or adversary proceeding against the HOA or the HOA Assets without the prior written

consent of the Lender Parties and entry of an Order by this Court. Upon entry of a Final Order in

the Adversary Proceeding or a Closing of the sale to the Back-Up Bidder, any and all claims, liens,

or interest of any kind and nature held by the Lender Parties, assignees of the Loans and/or the
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Lenders’ Claims, or the Purchaser with respect to the HOA Assets, are unconditionally released

and extinguished with respect to the HOA Assets. The Lender Parties can elect to release the

Lenders’ Claims on the HOA Assets at any time in their sole and absolute discretion.

       14.     For the avoidance of doubt, neither the Property nor the HOA Assets shall include

any personal property located in or on Aspen Valley Ranch Homestead 5 including, without

limitation, all furniture and art, and any other personal property, including without limitation,

furniture and art, located or stored elsewhere and labeled as “H5 Personal Property.”

       15.     Except with respect to Assumed Liabilities, if any, and any interests expressly

provided for in this Order, all persons and entities that are in possession of some or all of the

Property on the Closing Date are directed to surrender possession of such Property to the Purchaser

or its assignee at the Closing. The provisions of this Order authorizing the sale of the Property

free and clear of Liens, Claims and other interests of any kind or nature whatsoever (other than the

Assumed Liabilities and any interests expressly provided for in this Order) shall be self-executing,

and neither the Debtors, the Lender Parties, nor the Purchaser shall be required to execute or file

releases, termination statements, assignments, consents or other instruments in order to effectuate,

consummate and implement the provisions of this Order.

       16.     The Debtors are hereby authorized to take any and all actions necessary to

consummate the Agreement, including any actions that otherwise would require further approval

by members or managers, as the case may be, without the need of obtaining such approvals.

       17.     After the Closing has occurred in accordance with the Agreement and this Order, a

certified copy of this Order may be filed with the appropriate clerk and/or recorded with the

recorder to act to cancel any liens and other encumbrances of record except with respect to

Assumed Liabilities or any interests expressly provided for in this Order.
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       18.     If any person or entity which has filed statements or other documents or agreements

evidencing Liens on, or interests in, all or any portion of the Property (other than statements or

documents with respect to any Assumed Liabilities or interests expressly provided for in this

Order) shall not have delivered to the Debtors prior to the Closing, in proper form for filing and

executed by the appropriate parties, termination statements, instruments of satisfaction, releases of

liens and easements and any other documents necessary for the purpose of documenting the release

of all Liens or interests which the person or entity has or may assert with respect to all or any

portion of the Property, the Debtors are hereby authorized and directed, and the Purchaser and

Lender Parties are hereby authorized, on behalf of the Debtors and each of the Debtors’ creditors,

to execute and file such statements, instruments, releases and other documents on behalf of such

person or entity with respect to the Property after the Closing has occurred in accordance with the

Agreement and this Order.

       19.     On the Closing Date (and after the Closing has occurred in accordance with the

Agreement and this Order), this Order shall be construed and shall constitute for any and all

purposes a full and complete general assignment, conveyance and transfer of the Seller’s interests

in the Property. This Order is and shall be effective as a determination that, on the Closing Date,

all Liens, Claims and other interest of any kind or nature whatsoever existing as to the Property

prior to the Closing Date, including without limitation any hypothecation, encumbrance, liability,

Lien, Claim, Interest, security interest, security agreement, interest, mortgage, pledge, restriction,

covenant, charge, license, preference, reclamation claim, cause of action, suit, contract, right of

first refusal, offset and recoupment (except as specifically excepted in this Order) alter-ego,

transferee or successor liability claims, tax (including federal, state and local tax), Governmental

Order of any kind or nature, conditional sale or other title retention agreement or lease having
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substantially the same effect as any of the foregoing, assignment or deposit arrangement in the

nature of a security device, whether secured, unsecured, choate or inchoate, filed or unfiled,

scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, contingent or non-

contingent, perfected or unperfected, allowed or disallowed, matured or unmatured, disputed or

undisputed, material or immaterial, known or unknown (referred collectively, whether having

arisen, been incurred or accrued prepetition or postpetition, whether imposed by agreement,

understanding, law, equity or otherwise, as “Encumbrances”) pursuant to Section 363(f) of the

Bankruptcy Code, other than Assumed Liabilities or as otherwise provided in this Order or the

Agreement, shall have been unconditionally released, discharged and terminated as against the

Property, and that the conveyances described herein have been effected. This Order is and shall

be binding upon and govern the acts of all persons and entities, including, without limitation, all

filing agents, filing officers, title agents, title companies, recorders of mortgages, recorders of

deeds, registrars of deeds, administrative agencies, governmental departments, secretaries of state,

federal, state and local officials, and all other persons and entities who may be required by

operation of law, the duties of their office, or contract, to accept, file, register or otherwise record

or release any documents or instruments, or who may be required to report or insure any title or

state of title in or to any lease; and each of the foregoing persons and entities is hereby directed to

accept for filing any and all of the documents and instruments necessary and appropriate to

consummate the transactions contemplated by the Agreement.

       20.     To the greatest extent available under applicable law, the Purchaser shall be

authorized, as of the Closing Date, to operate under any (i) federal, state, or local governmental or

regulatory license, permit, registration, and (ii) governmental authorization or approval of the

Debtors with respect to the Property, and all such licenses, permits, registrations and governmental
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authorizations and approvals are deemed to have been, and hereby are, deemed to be transferred

to the Purchaser as of the Closing Date.

       21.     To the extent permitted by section 525 of the Bankruptcy Code, no governmental

unit may revoke or suspend any permit or license relating to the operation of the Property sold,

transferred or conveyed to the Purchaser on account of the filing or pendency of the Debtors’

chapter 11 cases or the consummation of the transactions contemplated by the Agreement. Each

and every federal, state, and local governmental agency or department is hereby authorized to

accept any and all documents and instruments necessary and appropriate to consummate the

transactions contemplated by the Agreement and this Order.

       22.     Notwithstanding anything contained in this Order or the Agreement to the contrary,

nothing in this Order or the Agreement releases Purchaser from compliance with any applicable

license, permit, registration, authorization, or approval of or with respect to a governmental unit

as though such sale took place outside of bankruptcy. Purchaser shall continue to honor and

comply with the terms and requirements of any such applicable license, permit, registration,

authorization or approval.

                          Prohibition of Actions Against the Purchaser

       23.     Except for the Assumed Liabilities, if any, or as otherwise expressly provided for

in this Order or the Agreement, the Purchaser shall not have any liability or other obligation of any

of the Debtors arising under or related to any of the Property, and the Purchaser is not a “successor”

to the Debtors or their estates by reason of any theory of law or equity, and the Purchaser shall not

assume, nor be deemed to assume, or in any way be responsible for any liability or obligation of

any of the Debtors and/or their estates under any theory of law or equity. Solely with respect to

the Property and without limiting the claims asserted against the Lender Parties in the Adversary

Proceeding, neither the Purchaser nor the Lender Parties shall have any liability or obligation to
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the Debtors or their estates or any other person to provide any additional value, consideration or

credit against the Loans other than the Purchase Price. Without limiting the generality of the

foregoing, and except as otherwise specifically provided herein or in the Agreement, the Purchaser

shall not be liable for any Claims against any of the Debtors or any of their respective predecessors

or affiliates, and the Purchaser shall have no successor, transferee or vicarious liabilities of any

kind or character.

       24.     Effective as of the Closing Date and except for the Assumed Liabilities or as

otherwise expressly provided for in this Order or the Agreement, all persons and entities, including,

but not limited to, all debt security holders, equity security holders, governmental, tax and

regulatory authorities, lenders, trade creditors, litigation claimants and other creditors, holding

Liens, Claims or other interests of any kind or nature whatsoever against or in all or any portion

of the Property (whether legal or equitable, secured or unsecured, matured or unmatured,

contingent or non-contingent, liquidated or unliquidated, senior or subordinate), arising under or

out of, in connection with, or in any way relating to any of the Debtors, the Property, the operation

of any of the Debtors’ businesses prior to the Closing Date or the transfer of the Property to the

Purchaser, hereby are forever barred, estopped and permanently enjoined from asserting against

the Purchaser, any of its affiliates, any of the foregoing’s successors, assigns, assets or properties

or the Property, such persons’ or entities’ Liens, Claims or interests in and to the Property,

including, without limitation, the following actions: (a) commencing or continuing in any manner

any action or other proceeding against the Purchaser, any of its affiliates or any of the foregoing’s

successors, assigns, assets or properties; (b) enforcing, attaching, collecting or recovering in any

manner any judgment, award, decree or order against the Purchaser, any of its affiliates or any of

the foregoing’s successors, assigns, assets or properties; (c) creating, perfecting or enforcing any
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Lien or other Claim against the Purchaser, any of its affiliates or any of the foregoing’s successors,

assigns, assets or properties; (d) asserting any setoff, right of subrogation or recoupment of any

kind against any obligation due the Purchaser, any of its affiliates or any of the foregoing’s

successors or assigns; (e) commencing or continuing any action, in any manner or place, that does

not comply or is inconsistent with the provisions of this Order, other orders of the Court or the

Agreements or actions contemplated or taken in respect thereof; or (f) revoking, terminating or

failing or refusing to transfer or renew any license, permit or authorization to operate any of the

Property or conduct any of the businesses operated with the Property.

       25.     On the Closing Date (and after the Closing has occurred in accordance with the

Agreement and this Order), or as soon as possible thereafter, each creditor is authorized and

directed, and the Purchaser and Lender Parties are hereby authorized, on behalf of each of the

Debtors’ creditors, to execute such documents and take all other actions as may be necessary to

release Liens, Claims and other interests in or on the Property (except Assumed Liabilities or as

otherwise provided in this Order), if any, as provided for herein, as such Liens, Claims and interests

may have been recorded or may otherwise exist.

       26.     The Debtors are authorized and empowered to cause to be filed with the secretary

of state of any state or other applicable officials of any applicable governmental units any and all

certificates, agreements, or amendments necessary or appropriate to effectuate the transactions

contemplated by the Agreement, any related agreements and this Order, including amended and

restated certificates or articles of incorporation and by-laws or certificates or articles of

amendment, and all such other actions, filings or recordings as may be required under appropriate

provisions of the applicable laws of all applicable governmental units or as any of the officers of

the Debtors may determine are necessary or appropriate. The execution of any such document or
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the taking of any such action shall be, and hereby is, deemed conclusive evidence of the authority

of such person to so act. Without limiting the generality of the foregoing, this Order shall

constitute all approvals and consents, if any, required by the applicable business corporation, trust

and other laws of the applicable governmental units, including for the change of the Debtors’

corporate names, with respect to the implementation and consummation of the Agreement, any

related agreements and this Order, and the transactions contemplated thereby and hereby.

         27.   All persons and entities are hereby forever prohibited and enjoined from taking any

action that would adversely affect or interfere with the ability of any of the Debtors to sell and

transfer the Property to the Purchaser in accordance with the terms of the Agreement and this

Order. The transfer of the Property under the Agreement for the Purchase Price may not be avoided

under any theory of avoidance or fraudulent transfer or under section 363(n) of the Bankruptcy

Code.

         28.   After the Closing has occurred in accordance with the Agreement and this Order,

the Purchaser will have given substantial consideration under the Agreement for the benefit of the

Debtors, their estates and creditors. The consideration given by the Purchaser shall constitute valid

and valuable consideration for the releases of any potential Claims and Liens as against the

Property pursuant to the Order, which releases shall be deemed to have been given in favor of the

Purchaser by all holders of Liens against, interests in or Claims against any of the Debtors or any

of the Property other than holders of Liens or Claims relating to Assumed Liabilities or as

otherwise provided in this Order.

         29.   After the Closing has occurred in accordance with the Agreement and this Order,

the Purchaser, its successors and assigns, shall be designated and appointed the Debtors’ true and

lawful attorney and attorneys, with full power of substitution, in the Debtors’ name and stead, on
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behalf of and for the benefit of the Purchaser, its successors and assigns, for any purpose as

provided in the Agreement as amended by this Order, including for the following purposes: to

demand and receive any and all of the Property and to give receipts and releases for and in respect

of the Property, or any part thereof, and from time to time to institute and prosecute in the Debtors’

name, for the benefit of the Purchaser, its successors and assigns, any and all proceedings at law,

in equity or otherwise, which the Purchaser, its successors and assigns, may deem proper for the

collection or reduction to possession of any of the Property, and to do all acts and things with

respect to the Property which the Purchaser, its successors and assigns, shall deem desirable. The

foregoing powers are coupled with an interest and are and shall be irrevocable by the Debtors.

       30.     Without limiting the generality of the foregoing, except as otherwise expressly

provided in the Agreement or this Order, neither the Purchaser nor any Lender Party, shall be liable

for any claims against or in the Property or against the Debtors or any affiliates of the Debtors, and

the Purchaser and the Lender Parties shall have no successor, transferee, derivative, or vicarious

liabilities of any kind or character, whether known or unknown as of the date of this Order, then

existing or hereafter arising, whether fixed or contingent, asserted or unasserted, liquidated or

unliquidated, with respect to the Debtors or any affiliate of the Debtors or any obligations of the

Debtors or any affiliate of the Debtors relating to the Property arising prior to the Closing Date,

including, but not limited to (a) environmental liabilities, debts, claims, or obligations arising from

conditions first existing on or prior to the closing of the Sale (including, without limitation, the

presence of hazardous, toxic, polluting, or contamination substances or wastes), which may be

asserted on any basis, including, without limitation, under the Comprehensive Environmental

Response, Compensation and Liability Act, 42 U.S.C. § 9601 et seq.; (b) any liabilities, debts, or

obligations of or required to be paid by any Debtor for any taxes of any kind for any period; and
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(c) any liabilities, debts, commitments, or obligations for any taxes relating to the operation of

Property prior to the Closing Date.

                     Assumption and Assignment of Assigned Contracts

       31.     Pursuant to sections 105(a) and 365 of the Bankruptcy Code, and subject to and

conditioned upon the Closing of the Sale, the applicable Debtor’s assumption and assignment to

the Purchaser, and the Purchaser’s assumption on the terms set forth in the Agreement as modified

by this Order, of the Assigned Contracts is hereby approved, and the requirements of section

365(b)(1) of the Bankruptcy Code with respect thereto are hereby deemed satisfied.

       32.     The Debtors are hereby authorized and directed in accordance with sections 105(a),

363 and 365 of the Bankruptcy Code to (a) assume and assign to the Purchaser, effective upon the

Closing Date, the Assigned Contracts free and clear of all Claims, Liens or other interests of any

kind or nature whatsoever and (b) execute and deliver to the Purchaser such documents or other

instruments as may be necessary to assign and transfer the Assigned Contracts to the Purchaser.

       33.     The Assigned Contracts shall be transferred to, and remain in full force and effect

for the benefit of, the Purchaser in accordance with their respective terms, notwithstanding any

provision in any such Assigned Contract (including those of the type described in sections

365(b)(2) and (f) of the Bankruptcy Code) that prohibits, restricts or conditions such assignment

or transfer and, pursuant to section 365(k) of the Bankruptcy Code, the Debtors shall be relieved

from any further liability with respect to the Assigned Contracts after such assignment to and

assumption by the Purchaser.

       34.     All defaults or other obligations of any of the Debtors under the Assigned Contracts

arising or accruing prior to the Closing Date (without giving effect to any acceleration clauses or

any default provisions of the kind specified in section 365(b)(2) of the Bankruptcy Code) shall be
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cured pursuant to the terms of the Agreement on the Closing Date or as soon thereafter as

reasonably practicable.

       35.     With respect to objections to any Cure Amounts or to Purchaser’s adequate

assurance of future performance that remain unresolved as of the Sale Hearing, such objections

shall be resolved by a future Court hearing to be set at the request of the Debtors, the Purchaser

and/or the respective counterparty, provided that, the Purchaser may remove any Assigned

Contract in its sole discretion at any time prior to the Closing, or if the Cure Amount or objections

to Purchaser’s adequate assurance of future performance has not been determined by the Court

prior to the Closing and the objection of any counterparty to such Assigned Contract has pending

an unresolved objection to the assumption and assignment of such Assigned Contract at the time

of Closing, the Purchaser may at its option proceed to seek the Court’s determination of the

assumption and assignment of such Assigned Contract or remove such Contract as an Assigned

Contract.

       36.     Nothing in this Order, the Sale Motion or in any notice or any other document is or

shall be deemed an admission by the Debtors that any contract is an executory contract and/or

unexpired lease or must be assumed and assigned pursuant to the Agreement or in order to

consummate the Sale.

       37.     The failure of the Debtors or the Purchaser to enforce at any time one or more terms

or conditions of any Assigned Contract shall not be a waiver of such term(s) or condition(s) or of

the Debtors’ and Purchaser’s rights to enforce every term and condition of such Assigned Contract.

       38.     All parties to the Assigned Contracts are forever barred and enjoined from raising

or asserting against the Purchaser any assignment fee, default, breach, Claim, pecuniary loss or

condition to assignment arising under or related to the Assigned Contracts existing as of the
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Closing Date or arising by reason of the Closing, except for any cure amounts or as otherwise

provided in this Order.

                                         Other Provisions

       39.     This Order and the Agreement shall be binding in all respects upon all creditors and

equity-holders of any of the Debtors, all non-debtor parties to the Assigned Contracts, all

successors and assigns of the Debtors and any of their respective affiliates and subsidiaries and

any trustees, examiners, “responsible persons” or other fiduciaries appointed in the Debtors’

bankruptcy cases or upon a conversion of such cases to cases under chapter 7 of the Bankruptcy

Code in accordance with the Bankruptcy Code and other applicable law. The Agreement shall not

be subject to rejection or avoidance under any circumstances.

       40.     The Agreement may be modified, amended, or supplemented by the parties thereto

in a writing signed by the parties, and in accordance with the terms thereof, without further order

of the Court, provided that any such modification, amendment or supplement does not have a

material adverse effect on the Debtors’ estates and is consistent with the terms of this Order.

       41.     Except for the Assumed Liabilities, or as otherwise expressly provided for in this

Order or the Agreement, the Purchaser shall not assume, nor be deemed to assume, or in any way

be responsible for any liability or obligation of any of the Debtors and/or their estates, including,

but not limited to, any bulk sales or similar law, successor or transferee liability, antitrust law,

labor law, de facto merger or substantial continuity, whether known or unknown as of the Closing

Date, now existing or hereafter raised, which may be asserted or unasserted, fixed or contingent,

liquidated or unliquidated with respect to the Debtors, or any of their predecessors or affiliates or

any obligations of the Debtors or their predecessors or affiliates arising prior to the Closing Date,

for any liabilities, debts, commitments or obligations (whether known or unknown, disclosed or

undisclosed, absolute, contingent, inchoate, fixed or otherwise) in any way whatsoever relating to
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or arising from the Property or the Debtors’ operation of their businesses or use of the Property on

or prior to the Closing Date.

       42.     Nothing in this Order or the Agreement releases, nullifies, or enjoins the

enforcement of any liability to a governmental unit under police and regulatory statutes or

regulations that any entity would be subject to as the owner or operator of property after the date

of entry of this Order, and the Purchaser reserves all rights and defenses other than asserting that

it is free of such liability on account of this Order with respect to any liability to a governmental

unit under police and regulatory statutes or regulations that any entity would be subject to as the

owner or operator of property after the date of entry of this Order.

       43.     The transactions contemplated by the Agreement are undertaken by the Purchaser

and the Lender Parties without collusion, in good faith, as that term is defined in section 363(m)

of the Bankruptcy Code, and, accordingly, the reversal or modification on appeal of the

authorization provided herein to consummate the Sale shall not affect the validity of the Sale,

unless such authorization and such Sale are duly stayed pending such appeal. The Purchaser is a

good faith buyer within the meaning of section 363(m) of the Bankruptcy Code and, as such, is

entitled to the full protections of section 363(m) of the Bankruptcy Code.

       44.     Nothing contained in any plan of reorganization or liquidation, or order of any type

or kind entered in (a) these chapter 11 cases, including any motion to dismiss these chapter 11

cases, (b) any subsequent chapter 7 cases into which these chapter 11 cases may be converted or

(c) any related proceeding subsequent to entry of this Order, shall conflict with or derogate from

the provisions of the Agreement (as modified by this Order).

       45.     The failure to specifically include any particular provision of the Agreement in this

Order shall not diminish or impair the effectiveness of such provision, it being the intent of the
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Court that the Agreement be authorized and approved in its entirety; provided, however, that this

Order shall govern if there is any inconsistency between the Agreement and this Order. Likewise,

all of the provisions of this Order are non-severable and mutually dependent.

       46.     Notwithstanding anything in this Order or the Agreement, including, without

limitation, any findings related to the good faith of the Lender Parties and the Purchaser with

respect to the Auction, all of the claims, defenses, and rights of the Debtors, the Other Plaintiffs,

the Lender Parties, and the Purchaser with respect to the Adversary Proceeding, any other motions

or proceedings in this Court, any other proceedings (including, without limitation, and proceedings

in New York State Court or the United States District Court for the Southern District of New York),

and the calculation of damages and/or other remedies with respect to any of the foregoing are

expressly reserved and preserved, and nothing in this Order shall impact or alter any such rights

or claims.

       47.     The Court shall retain jurisdiction to, among other things, interpret, implement, and

enforce the terms and provisions of this Order and the Agreement, all amendments thereto and any

waivers and consents thereunder and each of the agreements executed in connection therewith to

which any Debtor is a party or which has been assigned by any Debtor to the Purchaser, and to

adjudicate, if necessary, any and all disputes concerning or relating in any way to the Sale,

including, but not limited to, retaining jurisdiction to (a) compel delivery of the Property to the

Purchaser, (b) interpret, implement and enforce the provisions of this Order, (c) protect the

Purchaser against any Liens, Claims or other interest in or against any of the Debtors or the

Property of any kind or nature whatsoever and (d) enter any orders under section 363 or 365 of the

Bankruptcy Code with respect to the Assigned Contracts. Nothing contained herein shall be

deemed a waiver of any right by the Lender Parties to move to dismiss the Debtors’ Chapter 11
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Cases or a consent to jurisdiction of this Court with respect to the Adversary Proceeding or any

claims asserted by the Lender Parties or the Purchaser with regards to or in connection with any

other claim or matter.

       48.     Any amounts payable by any of the Debtors under the Agreement, the Bid

Procedures Order or any of the documents delivered by any of the Debtors in connection with the

Agreement or the Bid Procedures Order shall be paid in the manner provided in the Agreement or

the Bid Procedures Order, without further order of this Court, shall be allowed administrative

claims in an amount equal to such payments in accordance with sections 503(b) and 507(a)(2) of

the Bankruptcy Code, shall have the other protections provided in the Bid Procedures Order, and

shall not be discharged, modified or otherwise affected by any reorganization plan for any of the

Debtors, except by an express written agreement of the Purchaser or its successors or assigns. For

purposes of clarification, this Order authorizes payment of claims by the Debtors only as expressly

set forth in this Order, under the Agreement, or under the Bid Procedures Order.

       49.     No later than three (3) business days following entry of this Order, the Debtors’

Chief Restructuring Officer, Douglas J. Brickley, shall cause this Order to be recorded, with (i)

the Recorder of Pitkin County, Colorado, and (ii) the Colorado Secretary of State, who shall accept

such recordings, as against the HOA Assets, as applicable.

       50.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       51.     This Order shall take effect immediately and shall not be stayed pursuant to

Bankruptcy Rules 6004(g), 6004(h), 6006(d), 7062, 9014 or otherwise. The Debtors and the

Purchaser are authorized to close the Sale immediately upon entry of this Order in accordance with

and subject in all respects to the terms and conditions of the Agreement.
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       52.     To the extent that this Order is inconsistent with any prior order or pleading with

respect to the Sale Motion in these chapter 11 cases, the terms of this Order shall govern.

       SIGNED this _____ day of ____________________, 2023.

        August 02,
        November 09,2019
                     2023
                                      ________________________________________
                                      HONORABLE CHRISTOPHER M. LOPEZ,
                                      UNITED STATES BANKRUPTCY JUDGE
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                           EXHIBIT A
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                                  PURCHASE AGREEMENT

         THIS PURCHASE AGREEMENT is made and entered into as of this 24th day of
October, 2023 (the “Effective Date”), by and between CHIRON AVR LLC, a Delaware limited
liability company (“Buyer”), and AVR AH LLC, a Colorado limited liability company
(“Seller”).

       IN CONSIDERATION of the respective agreements hereinafter set forth, Seller and Buyer
hereby agree as follows:

         1.      Purchase and Sale.

         Seller agrees to sell and convey to Buyer, and Buyer agrees to purchase from Seller, on
the terms and conditions set forth in this Agreement, the Property. As used herein, the term the
“Property” shall mean, collectively: (a) those certain parcels of land located in Pitkin County,
Colorado, and containing approximately 282.31 acres of land and more particularly described on
Exhibit A attached hereto (the “Land”), together with all of Seller’s right, title and interest in all
rights, easements and interests appurtenant thereto including, but not limited to, any streets or
other public ways adjacent to the Land and any development rights, water or mineral rights
owned by, or leased to, Seller, and including without limitation any water and sewage facilities
and underground conduits located on the Land and owned by Seller, and all oil, gas and other
mineral rights; (b) all improvements located on the Land, including, but not limited to, three
homes located on the Land (the “Buildings”), and all other structures, systems, and utilities
associated with, and utilized by Seller in the ownership and operation of the Buildings (all such
improvements, together with the Buildings, being referred to herein as the “Improvements”),
(c) all personal property owned by Seller, located on or in the Land or Improvements and used in
connection with the operation and maintenance of the Property, including furniture, furnishings,
and appliances located in any residences or structures on the Property, fitness equipment, kitchen
appliances and equipment, games of amusement, recreational vehicles, motorcycles,
automobiles, tractors, wagons, snowmobiles, trailers, irrigation equipment, haying equipment,
farming equipment, tools, supplies, machinery, apparatus and other equipment used in the use,
operation, enjoyment, management, repair and maintenance of the Land and the Improvements,
and all other personal property owned by Seller and on the Property (the “Personal Property”),
including, without limitation, any personal property listed on Exhibit B attached hereto; (d) all
buildings materials, supplies, hardware, carpeting and other inventory located on or in the Land
or Improvements and maintained in connection with Seller’s ownership and operation of the
Property (the “Inventory”); (e) all design and other professional contracts pertaining to the
design or construction of the Improvements or any proposed improvements for the Land and all
service and other contracts in effect as of the Effective Date relating to the Property, assignable
permits, site plans, certificates of occupancy, transferrable development rights, development
rights, plans and entitlements, and other public approvals if and to the extent related to the Land,
all trademarks, trade-names, permits, approvals, and entitlements and other intangible property
used in connection with the foregoing, including, without limitation, all of Seller’s right, title and
interest in any and all warranties and guaranties relating to the Property (the “Intangible
Personal Property”); (f) Seller’s interest in all leases, licenses and other agreements to occupy
all or any portion of the Property, if any, that are in effect on the Effective Date (defined above)


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(the “Leases”); (g) all of Seller’s rights as the ”Declarant” under that certain Amended and
Restated Declaration of Protective Covenants for Aspen Valley Ranch dated August 20, 2021
and recorded August 20, 2021 as Reception No. 679690, Pitkin County, Colorado (the
“Declaration”), (h) all water and water rights, ditches and ditch rights (including certificated
ditch rights), reservoirs and reservoir rights, streams and stream rights, water wells and well
rights, whether tributary, non-tributary or not non-tributary, including, but not limited to all right,
title and interest under C.R.S. §37-90-137 on, underlying, appurtenant to or now or historically
used on or in connection with the Property described in Exhibit A, whether appropriated,
conditionally appropriated or unappropriated, and whether adjudicated or un-adjudicated,
including, without limitation, all State Engineer filings, well registration statements, well
permits, decrees and pending water court applications, if any, and all water well equipment or
other personalty or fixtures currently used for the supply, diversion, storage, treatment or
distribution of water on or in connection with the Property, and all water and ditch stock relating
thereto, including, without limitation all rights (if any are owned by Seller) referenced in that
certain Memorandum dated May 22, 2020 from Kevin Patrick of the Patrick, Miller, Noto law
firm in Aspen, CO to Seller, a copy of which has been provided to Buyer (collectively, the
“Subject Water Rights”); and (i) all rights, title, and interest in and to all oil and gas and oil and
gas rights and mineral and mineral rights on, under, or appurtenant to the Property
(“O&G/Mineral Rights”). The Land and Improvements are generally known as (1) Aspen
Valley Ranch Homesteads 2, 3, 5, 6 and 7; and (2) Aspen Valley Downs Lots 7, 8, and 9.
Notwithstanding anything to the contrary contained in this definition of “Property”, all physical
personal property located in or on Aspen Valley Ranch Homestead 5 including, without
limitation, all furniture and art, and any other personal property, including without limitation,
furniture and art, stored elsewhere on the Property which is not owned by the Seller, Borrower,
or any of their affiliates, and labelled as “H5 Personal Property” is excluded from the definition
of Personal Property.

        On the terms and subject to the conditions set forth herein and in the Sale Order (defined
below), effective as of the Closing, Buyer shall irrevocably assume from Seller (and from and
after the Closing pay, perform, discharge, or otherwise satisfy in accordance with their respective
terms), and Seller shall irrevocably convey, transfer, and assign to Buyer, only the liabilities
arising out of Buyer’s ownership or operation of the Property solely to the extent arising from
periods occurring after the Closing and only to the extent not otherwise paid, performed,
discharged or otherwise satisfied prior to the Closing. Notwithstanding anything to the contrary
in this Agreement, Buyer shall not assume, be obligated to pay, perform or otherwise discharge
or in any other manner be liable or responsible for any liabilities of, or action against, Seller of
any kind or nature whatsoever, whether absolute, accrued, contingent or otherwise, liquidated or
unliquidated, due or to become due, known or unknown, currently existing or hereafter arising,
matured or unmatured, direct or indirect, and however arising, whether existing on the Closing
Date or arising thereafter as a result of any act, omission, or circumstances taking place prior to
the Closing, in each case, that are not expressly assumed pursuant to the previous sentence (all
such liabilities not being assumed by Buyer, the “Excluded Liabilities”), and Seller shall pay,
perform, discharge, or otherwise satisfy in accordance with their respective terms all such
Excluded Liabilities.




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         2.      Purchase Price.

                (a)     The purchase price of the Property shall be Thirty Million Five Hundred
Thousand Dollars ($30,500,000) (the “Purchase Price”). The Purchase Price shall be credited
to Seller at Closing in the manner set forth in Paragraph 2(b) below.

                (b)     The Purchase Price shall be paid as follows: Nineteen77 Capital Solutions
A LP and Bermudez Mutuari Ltd. (each, a “Lender” and, collectively, the “Lenders”), each an
affiliate of Buyer, are the holder of loans in favor of Seller with an outstanding balance due and
payable in excess of the Purchase Price (the “Loans”). Immediately prior to the Closing Date,
the Administrative Agent on behalf of the Lenders shall assign, and the Buyer shall assume, an
amount of the Loans equal to the Purchase Price and all rights of the Administrative Agent and
the Lenders related to the Property and the Administrative Agent’s Lien on the Property,
including, without limitation, such rights pursuant to that certain Assignment of Rights Under
Declaration, dated as of August 20, 2021, and recorded in the official records of Pitkin County,
Colorado, as Reception No. 679708. The consideration for the sale of the Property pursuant to
this Agreement shall be a credit in the amount of the Purchase Price (the “Credit”), as adjusted
based on the prorations to be made hereunder, given by Buyer in satisfaction of a portion of the
Loan in the amount of the Purchase Price. In the event the sale of the Property as contemplated
hereunder is consummated, the Purchase Price shall be credited to Seller at the closing of the
purchase and sale contemplated hereunder (the “Closing”) and the lien on the Property in favor
of the Administrative Agent (as defined below), for the benefit of the Lenders, shall be
concurrently released.

                 (c)     The Loans were made by the Lenders and are currently outstanding under
(a) that certain Loan Agreement, dated as of April 27, 2017 (as amended, restated, supplemented
or otherwise modified and in effect as of the date hereof, the “2017 Loan Agreement”) among
Charif Souki (“Souki”), as borrower, certain affiliates of Souki (including Seller), as guarantors,
the Lenders party thereto and Wilmington Trust, National Association, as administrative agent
(in such capacity, the “Administrative Agent”) and (b) that certain Loan Agreement, dated as of
March 30, 2018 (as amended, restated, supplemented or otherwise modified and in effect as of
the date hereof, the “2018 Loan Agreement” and, together with the 2017 Loan Agreement,
collectively the “Loan Agreements”) among Souki, as borrower, the guarantors (including
Seller) party thereto, the Lenders party thereto and the Administrative Agent. The Credit shall
be applied, first, to reduce the “Obligations” as defined in and outstanding under the 2017 Loan
Agreement, until such amounts are deemed to have been repaid in full. Any remaining Credit
amounts will thereafter be applied to reduce the “Obligations” as defined in and outstanding
under the 2018 Loan Agreement.

              (d)     Prior to or upon the execution and delivery hereof by Buyer and Seller,
Buyer shall deposit with Title Company an amount equal to Five Hundred Thousand Dollars
($500,000.00) (together with any interest earned thereon, the “Deposit”). Title Company shall
invest the Deposit in an interest-bearing account at such bank as Title Company may elect and
approved by Buyer, and the Deposit shall be held and disbursed in accordance with this
Agreement. The interest shall accrue for the benefit of Buyer, unless it is released to the Seller
pursuant to the terms of this Agreement. Notwithstanding anything to the contrary in this
Agreement, One Hundred Dollars ($100) of the Deposit shall be delivered to Seller, which

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amount shall be non-refundable under all circumstances (the "Nonrefundable Consideration").
If the Closing occurs, the Nonrefundable Consideration shall be credited against the Purchase
Price.

        Buyer and Seller, and the Title Company, by execution of the acknowledgement page of
this Agreement, agree that, regardless of any later instructions of any party, unless executed by
both Buyer and Seller, (i) the Deposit shall be returned in full to Buyer upon Closing; (ii) the
Deposit shall be returned in full to Buyer if this Agreement is terminated for any reason by
Buyer pursuant to its rights under this Agreement on or before November 21, 2023; (iii) the
Deposit shall be returned in full to Buyer if Buyer exercises its remedy to sue Seller for specific
performance pursuant to Section 6(b); (iv) the Deposit shall be returned in full to Buyer if Buyer
has to seek legal relief to cause Seller to fulfill its obligations under this Agreement, and (v) the
Deposit shall only be released to Seller if Seller provides Title Company with an order of the
Bankruptcy Court finding that Buyer has defaulted under the terms of this Agreement and failed
to timely close on the purchase of the Property.

         3.      Title to the Property.

                (a)    At Closing, Fidelity National Title Insurance Company (the “Title
Company”) shall issue to Buyer an ALTA Owner’s Policy of Title Insurance (2006 ALTA
Extended Owner’s Policy) in the amount of the Purchase Price, insuring fee simple title to the
Land and the Improvements in Buyer, subject only to the Permitted Exceptions (as hereinafter
defined) (the “Title Policy”). Seller shall execute and deliver to Title Company an owner’s
affidavit sufficient to support the issuance of the Title Policy. As used herein, the term
“Permitted Exceptions” shall mean, collectively: (i) the standard printed exceptions on an
ALTA Owner’s Policy of Title Insurance (2006 ALTA Extended Owner’s Policy), (ii) non-
delinquent liens for general real estate taxes and assessments, (iii) matters disclosed by a current
survey of the Property and approved by Buyer hereunder, and (iv) any exceptions disclosed by
the preliminary title report previously provided to Buyer. Notwithstanding the foregoing, the
term “Permitted Exceptions” shall not include (x) any monetary liens, including, without
limitation, the liens of any deeds of trust or other loan documents secured by the Property,
or (y) any mechanics’ liens.

               (b)      Notwithstanding anything to the contrary provided herein, Seller shall be
obligated to remove from title prior to the Closing (a) any delinquent taxes and assessments,
(b) any mechanics’ liens, (c) any other monetary liens, and (d) any exceptions caused by Seller’s
voluntary acts after the Effective Date and not approved by Buyer.

         4.      Access to Information.

        To the extent available, Seller shall make available to Buyer and its employees,
representatives, counsel and consultants access to all of its books, records and files relating to the
Property in Seller’s, its affiliates’ or managers’ possession or reasonable control, including,
without limitation, all of the items set form on said Exhibit G (collectively, the “Due Diligence
Items”), and Seller agrees, to the extent reasonably feasible, to allow Buyer to make copies at
Seller’s office or the property management office of such items as Buyer reasonably requests and
to provide updated Due Diligence Items upon request of Buyer at any time during the term of

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this Agreement. For the avoidance of doubt, Seller’s obligations under this Agreement are not
subject to any Due Diligence Items other than as provided in paragraph 6(c).

        Attached hereto as Exhibit J is a schedule identifying all of the service contracts and
similar agreements that Seller proposes to assign to Buyer at Closing (the “Schedule of
Agreements”). Buyer shall have the right, in its sole discretion, to require the assumption and
assignment of any service contract or other agreement identified on the Schedule of Agreements
effective as of the Closing Date, by delivering to Seller written notice (the “Contract
Assumption Notice”) at least two (2) days prior to the Closing Date. If Buyer fails to deliver the
Contract Assumption Notice within such time period, Buyer shall be deemed to have elected to
reject all of the agreements identified on the Schedule of Agreements. Under all circumstances,
Seller shall cause to be terminated as of the Closing all property management agreements and
commission agreements with respect to the Property. Those service contracts and agreements
identified on the Schedule of Agreements that are expressly assumed and assigned pursuant to
this Paragraph 4 are referred to herein as the “Assumed Contracts”.

         Seller previously provided written notice of the motion seeking entry of the Sale Order to
all parties to any executory contracts or unexpired leases that are Assumed Contracts and took all
other actions necessary or otherwise required to cause such Assumed Contracts to be assumed by
Seller and assigned to Buyer pursuant to Section 365 of the Bankruptcy Code, including but not
limited to (i) serving on all non-Seller counterparties to all of the Assumed Contracts a notice
specifically stating (A) that Seller is or may be seeking the assumption and assignment of such
contract(s), (B) Seller’s good faith estimate of the applicable Cure Amounts under such
Contract(s), (C) the deadline for objecting to such Cure Amount (which deadline shall not be less
than five business Days prior to the hearing before the Bankruptcy Court) and (D) any other
aspect of the proposing assumption and assignment of such contract(s) to Buyer and (ii) taking,
as promptly as practicable, all other actions reasonably requested by Buyer to facilitate any
negotiations with the counterparties to such Assumed Contracts and to obtain an order,
including a finding that the proposed assumption and assignment of the Assumed Contracts to
Buyer satisfies all applicable requirements of Section 365 of the Bankruptcy Code.

         5.      Conditions to Closing.

        The following conditions are precedent to Buyer’s obligation to acquire the Property and
to credit the Purchase Price (the “Conditions Precedent”). If any Conditions Precedent are not
satisfied as determined by Buyer in Buyer’s sole discretion, Buyer may elect by written notice to
Seller to terminate the Agreement. In the event that Buyer terminates this Agreement pursuant to
this paragraph, neither party shall have any further obligations hereunder, except for the
obligations that survive closing.

               (a)     This Agreement shall not have terminated pursuant to any other provision
hereof, including, without limitation, Paragraph 10 below.

               (b)     The physical condition of the Property shall be substantially the same on
the day of Closing as on the Effective Date, reasonable wear and tear and loss by casualty
excepted (subject to the provisions of Paragraph 10 below), and, as of the day of Closing, there
shall be no litigation or administrative agency or other governmental proceeding of any kind

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whatsoever, pending or threatened, which after Closing would materially adversely affect the
value of the Property or the ability of Buyer to operate the Property in the manner in which it is
currently being operated, and no proceedings shall be pending or threatened which could or
would cause the re-designation or other modification of the zoning classification of, or of any
building code requirements applicable to the Property or any portion thereof, which after Closing
would materially adversely affect the value of the Property or the ability of Buyer to operate the
Property in the manner in which it is currently being operated.

               (c)     Title Company shall be irrevocably and unconditionally committed to
issue to Buyer the Title Policy as described in Paragraph 3 above (subject only to payment of its
premium therefor).

               (d)     All of Seller’s representations and warranties contained herein shall be
true and correct on the Closing Date.

                 (e)   The Sale Order shall have been entered and be a Final Order.

         6.      Remedies.

               (a)    In the event the sale of the Property is not consummated because of the
failure of any condition or any reason other than a default under this Agreement by Seller or
Buyer, no credit shall be applied to the outstanding balance of the Loan. If said sale is not
consummated solely because of a default under this Agreement on the part of Buyer, Seller shall
be excused from further performance hereunder.

                (b)    In the event the sale of the Property is not consummated because of a
default under this Agreement on the part of Seller, Buyer shall be excused from further
performance hereunder and may either (i) terminate this Agreement by delivery of written notice
of termination to Seller, whereupon Seller shall pay to Buyer any out-of-pocket title, escrow,
legal and inspection fees, costs and expenses actually incurred by Buyer and any other out-of-
pocket fees, costs and expenses actually incurred by Buyer in connection with the performance
of its review of the Property and the negotiation and performance of this Agreement, including,
without limitation, environmental and engineering consultants’ fees and expenses, and neither
party shall have any further rights or obligations hereunder except to the extent set forth in the
provisions of this Agreement that survive closing or termination, or (ii) continue this Agreement
and bring an action for specific performance hereof. Nothing contained in this Paragraph 6(b)
shall limit or preclude Seller's liability for monetary damages due the breach of any default by
Seller under any obligations of Seller that expressly survive the Closing or earlier termination of
this Agreement pursuant to the terms of this Agreement.

               (c)    Buyer has initiated a Phase I Environmental Assessment of the Property.
If such report discovers material negative environmental issues at the Property, in the sole
judgment of the Buyer, Buyer may terminate this Agreement by delivery of written notice of
termination to Seller on or prior to November 21, 2023, the Deposit shall be immediately
returned to Buyer, and Buyer and Seller shall have no further obligations under this Agreement
except those that survive termination. However, if the Phase I Environmental Assessment has



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not been completed by November 21, 2023, Buyer shall have no right to terminate the
Agreement pursuant to the preceding sentence.

          7.     Closing and Escrow.

                (a)    Upon mutual execution of this Agreement, the parties hereto shall deposit
an executed counterpart of this Agreement with Title Company and this Agreement shall serve as
instructions to Title Company for consummation of the purchase and sale contemplated hereby.
Seller and Buyer agree to execute such additional escrow instructions as may be appropriate to
enable the title company to comply with the terms of this Agreement; provided, however, that in
the event of any conflict between the provisions of this Agreement and any supplementary
escrow instructions (other than joint escrow instructions), the terms of this Agreement shall
control.

               (b)     The parties shall conduct an escrow Closing pursuant to this Paragraph 7
on a date agreed to by Buyer and Seller, no later than November 22, 2023 (the “Closing Date”).

              (c)    At or before the Closing, Seller shall deliver to Title Company (for
delivery to Buyer upon Closing) the following (other than the materials described in clause (xii)
below, which shall be delivered directly to Buyer by Seller substantially concurrent with the
Closing):

                     (i)     a duly executed and acknowledged special warranty deed in the
form attached hereto as Exhibit C (the “Deed”) conveying to Buyer title to the real Property,
Subject Water Rights and O&G/Mineral Rights, free from all liens, encumbrances, easements,
conditions and other matters affecting title except the Permitted Exceptions and subject to
“Statutory Exceptions” as defined in § 38-30-113(5)(a), C.R.S., all of the records of the Pitkin
County Clerk and Recorder’s Office;

                       (ii)   a bill of sale in the form attached hereto as Exhibit D (the “Bill of
Sale”);

                     (iii)  an assignment of service contracts, warranties and guaranties and
other intangible property in the form attached hereto as Exhibit E (the “Assignment of
Intangible Property”);

                     (iv)  an assignment of Declarant’s rights in the form attached hereto as
Exhibit H, conveying to Buyer all of Seller’s rights as Declarant under the Declaration;

                        (v)   originals or, if originals are not available then copies, of all
Assumed Contracts, and, to the extent in Seller’s possession or reasonable control, buildings
permits, certificates of occupancy, plans and specifications for the Improvements, and all other
material documents, agreements and correspondence and items relating to the ownership,
development, operation, maintenance or management of the Property;

                     (vi)    a “FIRPTA Affidavit” pursuant to Section 1445 (b)(2) of the
Internal Revenue Code, duly executed by Seller;


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                     (vii) such resolutions, authorizations, bylaws or other corporate and/or
partnership documents relating to Seller as shall be required by Title Company;

                       (viii) the certificate certifying as to Seller’s representations and
warranties as required by Paragraph 8(b) below;

                     (ix)    keys to all locks located in or about any portion of the Property and
all personal property described in the Bill of Sale to the extent in Seller’s possession or
reasonable control;

                       (x)     evidence that the Bankruptcy Court has entered the Sale Order,
such Sale Order is in full force and effect without modification and has become a Final Order.
For purposes hereof, “Final Order” means an order which has not been reversed, stayed,
modified or amended and as to which the time to appeal or seek certiorari has expired and no
appeal or petition for certiorari has been timely taken, or as to which any appeal that has been
taken or any petition for certiorari that has been filed has been resolved by the highest court to
which the order or judgment could be appealed, or from which certiorari could be sought or the
new trial, re-argument or rehearing shall have been denied, resulted in no modification of such
order, or has otherwise been dismissed with prejudice;

                     (xi)     an instrument acceptable to Buyer to convey and assign all Subject
Water Rights to Buyer, if applicable; and

                      (xii) any other closing documents reasonably requested by Title
Company or Buyer. Buyer may waive compliance on Seller’s part under any of the foregoing
items by an instrument in writing.

                (d)    At or before the Closing, Buyer shall deliver to Title Company (for
delivery to Seller upon Closing) the following:

                       (i)    the duly executed Assignment of Intangible Property;

                     (ii)    such resolutions, authorizations, bylaws or other corporate and/or
partnership documents or agreements relating to Buyer as shall be required by Title Company;

                        (iii)    any other customary and/or reasonable closing documents
requested by Title Company or Seller (provided that in no event shall any such documents
increase the liability of, or cost to, Buyer);

                       (iv)    a release of each deed of trust in favor of the Administrative
Agent, for the benefit of the Lenders, currently encumbering the Property; and

                       (v)     at the election of Buyer, either (x) a surety bond in the amount of
the Purchase Price or (y) an amount in cash equal to the Purchase Price (less the deposit) to be
held in an interest-bearing account by the Title Company, in the case of either (x) or (y), to
secure the extent of any obligations of Buyer and/or the Lender Parties (as defined in the Sale
Order), as applicable, to Seller to pay all or a portion of the Purchase Price in cash, in the event
that a court of competent jurisdiction determines by Final Order in AVR AH LLC v. Ninteen77

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Capital Solutions A LP, et al., Adv. Pro. No. 23-09003 (the “Adversary Proceeding”)
commenced by the Seller and the Other Plaintiffs (as defined in the Sale Order) or in any other
proceeding in a court of competent jurisdiction adjudicating the Lender Parties’ claims with
respect to the Obligations (as defined in the Loan Agreements), that the amount due by Seller
and the Other Plaintiffs to the Lender Parties and/or Buyer (as applicable) on account of the
Lender Parties’ claims with respect to the Obligations (as defined in the Loan Agreements) is
less than the Purchase Price; provided, that, for the avoidance of doubt, the security provided by
Buyer and the Lender Parties to Seller and the Other Plaintiffs pursuant to this Agreement shall
only be available to Seller and the Other Plaintiffs to the extent a court of competent jurisdiction
disallows the Lender Parties’ claims and liens or finds by Final Order that the Lender Parties
and/or Buyer do not have a valid first priority lien and claim in an amount equal to the Purchase
Price, and only to the extent of the difference between (x) the Purchase Price and (y) the amount
of the Lender Parties and/or Buyer’s allowed first priority lien and claim against the Property as
determined by the Final Order.

               (e)    Seller and Buyer shall each deposit such other instruments, and take such
other actions (including with respect to any applicable Subject Water Rights, O&G/Mineral
Rights, water boards and ditch companies), as are reasonably necessary or required by the Title
Company or otherwise required to close the escrow and consummate the acquisition of all the
Property in accordance with the terms hereof (provided that in no event shall any such
documents increase the liability of Buyer or Seller). Seller and Buyer hereby designate Title
Company as the “Reporting Person” for the transaction pursuant to Section 6045(e) of the
Internal Revenue Code and the regulations promulgated thereunder and agree to execute such
documentation as is reasonably necessary to effectuate such designation.

               (f)     The following are to be apportioned as of the Closing Date as follows,
with Buyer being deemed to be the owner of the Property during the entire day on which the
Deed is recorded and being entitled to receive all income of the Property, and being obligated to
pay all expenses of the Property, with respect to such day:

                       (i)    Income. All income of the Property shall be prorated as of the
Closing to the extent received by Seller prior to Closing.

                         (ii)   Utility Charges. Seller shall be responsible for the cost of all
utilities used prior to the Closing Date, except to the extent such utility charges are billed to and
paid by tenants directly.

                        (iii)   Other Apportionments; Closing Costs. Amounts payable under the
Assumed Contracts, annual or periodic permit and/or inspection fees (calculated on the basis of
the period covered), and liability for other Property operation and maintenance expenses and
other recurring costs shall be apportioned as of the Closing Date. Seller and Buyer shall each
pay one half (1/2) of all transfer taxes (if any), including documentary transfer taxes, and excise
taxes with respect to the conveyance of the Property to Buyer and all sales tax (if any) owed with
respect to the sale of the Personal Property. Buyer shall pay the premium for the Title Policy.
Seller shall be responsible for all costs incurred in connection with the prepayment or satisfaction
of any loan secured by the Property other than the Loan, including, without limitation, any
prepayment fees, penalties or charges. All other costs and charges of the escrow for the sale not

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otherwise provided for in this Agreement shall be allocated in accordance with the applicable
closing customs for the county in which the Property is located, as determined by the Title
Company.

                        (iv)   Real Estate Taxes and Special Assessments. All delinquent real
estate taxes and assessments shall be paid by Seller at or before Closing. Non-delinquent real
estate taxes and assessments shall be prorated between Buyer and Seller as of the Closing Date
using the actual current tax bill, but if such tax bill is not available at Closing, then such
proration shall use an estimate calculated to be 102% of the amount of the previous year’s tax
bill. In the proration(s), Buyer shall be credited with an amount equal to the real estate taxes and
assessments applicable to the period prior to the Closing Date, to the extent such amount has not
been actually paid by Seller. In the event that Seller has paid prior to Closing any real estate
taxes or assessments applicable to the period after the Closing Date, Seller shall be entitled to a
credit for such amount. If, after Closing, any additional real estate taxes or assessments
applicable to the period prior to the Closing Date are levied for any reason, including, without
limitation, any back assessments or escape assessments, then Seller shall pay all such additional
amounts promptly upon receipt of an invoice or bill for any such amounts.

                        (v)    Survival. The provisions of this Paragraph 7(f) shall survive the
Closing.

         8.      Representations and Warranties of Seller.

                 (a)    Seller hereby represents and warrants to Buyer as follows:

                       (i)   Seller is not, and as of the Closing shall not be, a “foreign person”
as defined in Section 1445 of the Internal Revenue Code of 1986, as amended (the “Code”) and
any related regulations.

                        (ii)   Subject to Bankruptcy Court approval, this Agreement (A) has
been duly authorized, executed and delivered by Seller, and (B) does not, and as of the Closing
shall not, violate any provision of any agreement or judicial order to which Seller is a party or to
which Seller or the Property is subject.

                    (iii)   Seller has full and complete power and authority to enter into this
Agreement and to perform its obligations hereunder, subject to the terms and conditions of this
Agreement and the approval of the Bankruptcy Court.

                        (iv)   There are no Leases that have not expired or been terminated.

                      (v)     To Seller’s knowledge, there is no litigation pending or threatened
with respect to the Property or the transactions contemplated hereby except for (A) that certain
Piktin County Public Foreclosure No. 23-002 (“Foreclosure”) which Foreclosure was initiated
by the Administrative Agent, at the direction of the Lenders, (B) the Adversary Proceeding, and
(C) the Bankruptcy Case.

                      (vi)   To Seller’s knowledge, there are no violations of any applicable
building codes or any applicable environmental, zoning or land use law, or any other applicable

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local, state or federal law or regulation relating to the Property, including, without limitation, the
Americans with Disabilities Act of 1990.

                       (vii) To Seller’s knowledge, Seller has not failed to obtain any material
governmental permit necessary for the operation of the Improvements in the manner in which
they are presently being operated.

                      (viii) To Seller’s knowledge, there are no condemnation proceedings
pending or threatened that would result in the taking of any portion of the Property. Seller has
not received any written notice of any special assessment proceedings or other governmental
proceedings affecting the Property that is not disclosed on the Preliminary Reports.

                     (ix)    Seller has not granted any option or right of first refusal or first
opportunity to any party to acquire any fee or ground leasehold interest in any portion of the
Property.

                        (x)    To the best of Seller’s knowledge, neither Seller nor any third
party has used, manufactured, stored or disposed of, on under or about the Property or
transported to or from the Property, any Hazardous Materials. As used herein, the term,
“Hazardous Material” shall mean any substance, chemical, waste or other material which is
listed, defined or otherwise identified as “hazardous” or “toxic” under any federal, state, local or
administrative agency ordinance or law, including, without limitation, the Comprehensive
Environmental Response, Compensation and Liability Act, 42 U.S.C. §§ 9601 et seq.; and the
Resource Conservation and Recovery Act, 42 U.S.C. §§ 6901 et seq.; or any regulation, order,
rule or requirement adopted thereunder, as well as any formaldehyde, urea, polychlorinated
biphenyls, petroleum, petroleum product or by-product, crude oil, natural gas, natural gas liquids,
liquefied natural gas, or synthetic gas usable for fuel or mixture thereof, radon, asbestos, and
“source,” “special nuclear” and “by-product” material as defined in the Atomic Energy Act of
1985, 42 U.S.C. §§ 3011 et seq.

                        (xi)   Seller is in compliance with all laws, statutes, rules and regulations
and any federal, state or local governmental authority in the United States of America applicable
to Seller and all beneficial owners of Seller arising out of the requirements of Executive Order
No. 133224, 66 Fed Reg. 49079 (September 25, 2001) (the “Order”) and other similar
requirements contained in the rules and regulations of the Office of Foreign Asset Control,
Department of the Treasury (“OFAC”) and in any enabling legislation or other Executive Orders
in respect thereof (the Order and such other rules, regulations, legislation, or orders are
collectively called the “Orders”).

                      (xii) All of the water rights, water structures or water interests owned by
Seller were previously conveyed and described in the Quit Claim Deed and Assignment recorded
at Reception #679728 of Pitkin County real property records.

                       (xiii)   Seller does not own any transferable development rights.

                       (xiv) Seller has provided all holders of any lien on the Property and all
of its and the Credit Agreement borrowers’ creditors who are entitled to notice of the auction of


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the Property conducted pursuant to the Bankruptcy Case adequate and required notice of such
auction.

               (b)     It shall be a condition precedent to Buyer’s obligation to purchase the
Property and to deliver the Purchase Price that all of Seller’s representations and warranties
contained in or made pursuant to this Agreement shall have been true and correct when made and
shall be true and correct as of the Closing Date. At the Closing, Seller shall deliver to Buyer a
certificate certifying that each of Seller’s representations and warranties contained in
Paragraph 8(a) above are true and correct as of the Closing Date.

              (c)     All representations and warranties by the respective parties contained
herein or made in writing pursuant to this Agreement shall be deemed to be material and shall
survive the execution and delivery of this Agreement and the Closing for a period of six (6)
months. In the event that a claim is not made with respect to a breach of a representation or
warranty set forth herein or made in writing pursuant to this Agreement within such six (6)
month period, such claim shall be deemed waived.

               (d)     Buyer understands and agrees that the phrase “to Seller’s knowledge” or
“receipt of notice” or in either case words of similar import, as used in this Agreement, means
only the actual knowledge of, without investigation, or the receipt of notice by, Charif Souki,
Karim Souki, Simon Chen, or Brooke Peterson.

        9.       Representations and Warranties of Buyer. Buyer hereby represents and warrants
to Seller as follows:

                (a)    Buyer is a duly organized and validly existing limited liability company in
good standing under the laws of the State of Delaware; this Agreement and all documents
executed by Buyer which are to be delivered to Seller at the Closing are or at the time of Closing
will be duly authorized, executed and delivered by Buyer, and do not and at the time of Closing
will not violate any provisions of any agreement or judicial order to which Buyer is subject.

                (b)     Buyer has not, and as of the Closing Buyer shall not have (i) made a
general assignment for the benefit of creditors, (ii) filed any voluntary petition in bankruptcy or
suffered the filing of any involuntary petition by Buyer’s creditors, (iii) suffered the appointment
of a receiver to take possession of all, or substantially all, of Buyer’s assets, which remains
pending as of such time, (iv) suffered the attachment or other judicial seizure of all, or
substantially all, of Buyer’s assets, which remains pending as of such time, (v) admitted in
writing its inability to pay its debts as they come due, or (vi) made an offer of settlement,
extension or composition to its creditors generally.

                (c)     Buyer is in compliance with all laws, statutes, rules and regulations and
any federal, state or local governmental authority in the United States of America applicable to
Buyer and all beneficial owners of Buyer arising out of the requirements of the Orders.

         10.     Risk of Loss.

       All risk of loss or damage to the Improvements prior to the Closing Date shall belong to
and be borne by Seller.

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       (a)     Casualty. Until and through the Closing Date, Seller shall maintain casualty
insurance sufficient to pay for the restoration of the Improvements from all risks customarily
covered by insurance on similar type properties located in the County where the Property is
located ("Seller's Insurance").

               (i)     If the Improvements are damaged as the result of a casualty, Seller shall
provide Buyer with prompt written notice thereof (a "Casualty Notice"), describing the casualty
and the extent of the damage, and indicating whether the damage is Material Damage (as defined
below).

               (ii)    If the damage is Material Damage, Buyer may terminate this Agreement
upon written notice to Seller ("Buyer's Termination Notice") within twenty (20) days after
receiving Seller's Casualty Notice; provided that if the Closing was otherwise required under this
Agreement within such twenty (20) day notice period, the Closing shall be postponed to the
fifteenth (15th) day following such twenty (20) day notice period. Buyer's failure to timely
provide a Buyer's Termination Notice shall nevertheless be deemed an election by Buyer to
terminate this Agreement.

                 (iii)   If the damage is not Material Damage, or if the damage is Material
Damage but Buyer elects not to terminate this Agreement pursuant to Paragraph 10(a)(ii) hereof,
the obligations of the parties under this Agreement shall not be affected by such damage and the
parties shall instead proceed to the Closing on the Property in its damaged state on the Closing
Date (as the same may have been postponed pursuant to Paragraph 10(a)(ii) hereof),
notwithstanding anything contained herein to the contrary; except that at Closing, Buyer shall
receive a credit against the Purchase Price for the Cost to Restore (as defined below) and Seller
shall retain all rights against the insurer, which rights shall not be assigned to Buyer; provided,
however, that nothing contained in this Paragraph 10(a)(iii) shall preclude Seller and Buyer from
otherwise agreeing in writing to effectuate an assignment of Seller's Insurance to Buyer,
provided that Seller provides Buyer at Closing with (A) the written consent of the insurance
company to such assignment and (B) a credit against the Purchase Price for the Cost to Restore,
less the net proceeds yet unpaid but thereafter payable to Buyer under Seller's Insurance for the
restoration of the Improvements.

               (iv)    As used in this Paragraph 10(a), the term "Material Damage" means
damage to the Improvements (A) for which the Cost to Restore exceeds one percent (1%) of the
Purchase Price, (B) that destroys (i.e. renders unusable unless rebuilt) more than 1% of the total
area of the Improvements, or (C) with respect to which applicable law or governmental
regulation or action renders impossible the rebuilding of the Improvements to contain at least the
same amount of square footage as existed prior to such damage.

                (v)    As used in this Paragraph 10(a), the term "Cost to Repair" means 105%
of the price that the owner of the Improvements will likely be required to pay for the repair and
restoration of the damaged Improvements to the size and condition in which such Improvements
existed prior to such damage; such Cost to Repair to be determined pursuant to a written estimate



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obtained by Buyer, within fifteen (15) days after the damage occurs, from a licensed contractor
or public adjusting firm located in the County where the Improvements are located.

        (b)       Condemnation or Litigation. In the event that Seller is given notice of any action,
suit or proceeding prior to the Closing Date for the condemnation of all or any part of the Land
or Improvements, Seller shall provide Buyer with prompt notice thereof (indicating the extent of
the condemnation, the purpose thereof, and the timing thereof, if known, and whether such
condemnation is a Material Condemnation (as defined below), whereupon Buyer shall be
entitled, at its option, either: (i) to terminate this Agreement or (ii) to consummate the transaction
and negotiate with the condemning governmental authority for a settlement, and to receive, at the
Closing, an absolute assignment of all of Seller's rights to receive any and all awards and
proceeds of such condemnation from the condemning governmental authority. As used herein,
the term “Material Condemnation” means any condemnation that could result in the loss of any
part of the Improvements for more than 90 days or loss of more than 5% of any parcel included
in the Land.

        (c)     Termination. In the event of a termination of this Agreement by Buyer pursuant
to this Paragraph 10, neither party shall have any further rights or obligations hereunder, except
for the obligations that expressly survive closing.

         11.     Access; Indemnity; Possession.

                (a)    Commencing on the Effective Date and through the Closing Date or the
earlier termination of this Agreement, Seller shall afford authorized representatives of Buyer
reasonable access to the Property for purposes of satisfying Buyer with respect to the
representations, warranties and covenants of Seller contained herein, including, without
limitation, to cause to be completed building, surveying, environmental or other diligence
testing, and for the purpose of conducting tenant, HOA employee and vendor interviews or
touring the Property with consultants of Buyer, marketing or sales professionals, or other
interested parties. Buyer hereby agrees to indemnify, defend and hold Seller harmless from and
against any and all claims, judgments, damages, losses, penalties, fines, demands, liabilities,
encumbrances, liens, costs and expenses (including reasonable attorneys’ fees, court costs and
costs of appeal) actually suffered or incurred by Seller to the extent arising out of damage or
injury to persons or property caused by Buyer or its authorized representatives during their
investigation of, entry onto and/or inspections of the Property prior to the Closing. If this
Agreement is terminated, Buyer shall repair the damage caused by Buyer’s entry onto and/or
inspections of the Property, provided the foregoing shall not require Buyer to repair or remediate
any conditions that are discovered by Buyer.

                 (b)    Possession of the Property shall be delivered to Buyer on the Closing
Date.

         12.     Seller Covenants.

              (a)     At the time of Closing, Seller shall cause to be paid in full all obligations
under any outstanding written or oral contracts made by Seller for any improvements to the
Property, and Seller shall cause to be discharged all mechanics’ and materialmen’s liens arising

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from any labor or materials furnished to the Property prior to the time of Closing (other than
obligations that are properly the obligation of any third party).

                (b)    Between the Effective Date and the Closing, Seller shall (i) promptly
notify Buyer of any condemnation, environmental, zoning, other land-use regulation proceedings
and notices of violations of any Laws relating to the Property; and (ii) promptly notify Buyer of
any litigation of which Seller obtains knowledge that arises out of the ownership of the Property.

               (c)     Between the Effective Date and the Closing, Seller shall (i) perform all of
the declarant’s obligations under the Declaration in the same manner as historically performed,
provided that Seller shall not exercise any rights of declarant under the Declaration or its bylaws
without the prior, written authorization of the Buyer, and shall otherwise operate and maintain
the association property on behalf of the association in the same manner as before the making of
this Agreement, as if Seller were retaining its rights as declarant under the Declaration; (ii)
promptly notify Buyer of any condemnation, environmental, zoning, other land-use regulation
proceedings and notices of violations of any Laws relating to the association property or with
respect to the Declaration; and (iii) promptly notify Buyer of any litigation of which Seller
obtains knowledge that affects the Declaration or any rights or obligations thereunder.

                (d)     Through the Closing Date, Seller shall maintain or cause to be maintained,
at Seller’s sole cost and expense, all policies of insurance currently in effect with respect to the
Property (or comparable replacements thereof).

               (e)    Seller shall deliver to Buyer copies of any bills for real estate taxes and
personal property taxes and copies of any notices pertaining to real estate taxes or assessments
applicable to the Property that are received by Seller after the Effective Date, even if received
after Closing. The obligations set forth in this Paragraph 12(d) shall survive the Closing.

               (f)     Any and all liabilities, obligations or amounts due to the Aspen Valley
Ranch Homeowners Association, Inc. by Seller or otherwise attributable or allocable to the
Property shall be fully paid and satisfied by Seller as a condition of Closing.

             (g)      All personal property described as “H5 Personal Property” shall be
removed by Seller prior to Closing.

       13.    Buyer’s Consent to New Contracts Affecting the Property; Termination of
Existing Contracts.

                 (a)     Seller shall not, after the Effective Date, enter into any Lease or contract,
or any amendment thereof, or waive any rights of Seller under any contract, without in each case
obtaining Buyer’s prior written consent thereto, which consent Buyer may withhold or condition
its consent in its sole and absolute discretion. From and after the Effective Date, including at any
time after the Closing, Seller shall promptly notify and provide Buyer with details of any
inquiries made to Seller regarding the Property, including, without limitation, with respect to the
purchase or lease of any portion of the Property.

             (b)   Seller shall terminate prior to the Closing, at no cost or expense to Buyer,
any and all management agreements, commission agreements (if any), service contracts or

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similar agreements affecting the Property that are not Assumed Contracts (other than such
contracts or agreements that Seller is not obligated to terminate pursuant to Paragraph 4 above)
and all employees, if any, of the Property. In addition, Seller shall be responsible for any
amounts payable to any broker or finder relating to the Leases, including any agreements
executed prior to the Closing. The obligations set forth in the foregoing sentence shall survive
the Closing.

                (c)    Seller shall not, after the Effective Date, create any new encumbrance or
lien affecting the Property other than liens and encumbrances that in fact will be and are
discharged prior to the Closing. The obligations set forth in this Paragraph 13(c) shall survive
the Closing to the extent such obligations are violated prior to the Closing.

        14.     Bankruptcy. Seller and related entity Strudel Holdings LLC have filed voluntary
Chapter 11 bankruptcy petitions commencing Case Nos. 23-90757 and 23-90758 (collectively,
the “Bankruptcy Case”) in the United States Bankruptcy Court for the Southern District of
Texas (the “Bankruptcy Court”). Seller has requested that the Bankruptcy Court enter an
order, in the form attached hereto as Exhibit L, or otherwise in a form and substance acceptable
to Buyer (the “Sale Order”) approving this Agreement and all of the terms and conditions
hereof and approving and authorizing Seller to consummate the transactions contemplated
hereby pursuant to the Bankruptcy Code.

         15.       Miscellaneous.

                (a)      Notices. Any notice, consent or approval required or permitted to be
given under this Agreement shall be in writing and shall be deemed to have been given upon
(i) hand delivery, (ii) one (1) business day after being deposited with Federal Express or another
reliable overnight courier service, with receipt acknowledgment requested, (iii) upon receipt if
transmitted by email, with a copy sent on the same day by one of the other permitted methods of
delivery, or (iii) upon receipt or refused delivery deposited in the United States mail, registered
or certified mail, postage prepaid, return receipt required, and addressed as follows:

                    IF TO SELLER:   AVR AH LLC
                                    P.O. Box 4068
                                    Aspen, Colorado 81612
                                    Attn: _____________________
                                    Telephone: ________________
                                    Email: _____________________


                 WITH A COPY TO:    Porter Hedges LLP
                                    1000 Main Street, 36th Floor
                                    Houston, Texas 77002
                                    Attn: Joshua Wolfshohl
                                    email: jwolfshohl@porterhedges.com




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                    IF TO BUYER:   Chiron AVR LLC
                                   c/o UBS O’Connor LLC
                                   One North Wacker Dr., Floor 31
                                   Chicago, IL 60606
                                   Attn: Randal Johnson, Lilly Kaufmann and Connor Burke
                                   Email: randal.johnson@ubs.com; lilly.kaufmann@ubs.com;
connor.burke@ubs.com

                 WITH A COPY TO:   Orrick, Herrington & Sutcliffe LLP
                                   51 West 52nd Street
                                   New York, New York 10019
                                   Attn: Laura Metzger, Esq.
                                   Phone No. 212-506-5149
                                   email: lmetzger@orrick.com

or such other address as either party may from time to time specify in writing to the other.

                (b)    Brokers and Finders. In the event that any broker or finder makes a claim
for a commission or finder’s fee based upon any contact, dealings or communication related to a
sale by Seller to Buyer, the party whose conduct is the basis for the broker or finder making its
claim shall indemnify, defend and hold harmless the other party against and from any
commission, fee, liability, damage, cost and expense, including without limitation attorneys’
fees, arising out of or resulting from any such claim. The provisions of this Paragraph 14(b)
shall survive the Closing, or in the event that the Closing does not occur, the termination of this
Agreement.

                (c)    Successors and Assigns. Buyer reserves the right to take title to the
Property in the name of a nominee or assignee. This Agreement shall be binding upon the
successors and assigns of the parties hereto. Seller shall not be entitled to assign its rights or
obligations hereunder. Without limiting the foregoing, if Seller liquidates prior to satisfying all
of Seller’s obligations hereunder, Buyer shall have recourse against the proceeds distributed in
such liquidation to the extent of any unsatisfied obligations of Seller hereunder.

              (d)   Amendments. Except as otherwise provided herein, this Agreement may
be amended or modified only by a written instrument executed by Seller and Buyer.

              (e)     Governing Law. This Agreement shall be governed by and construed in
accordance with the laws of the State of Colorado.

              (f)    Merger of Prior Agreements. This Agreement and the exhibits and
schedules hereto, constitutes the entire agreement between the parties and supersede all prior
agreements and understandings between the parties relating to the subject matter hereof.

               (g)     Enforcement. If either party hereto fails to perform any of its obligations
under this Agreement or if a dispute arises between the parties hereto concerning the meaning or
interpretation of any provision of this Agreement, then the defaulting party or the party not
prevailing in such dispute shall pay any and all costs and expenses incurred by the other party on

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account of such default and/or in enforcing or establishing its rights hereunder, including,
without limitation, court costs and attorneys’ fees and disbursements. The prevailing party shall
be determined by the court based upon an assessment of which party’s major arguments made or
positions taken in the proceedings could fairly be said to have prevailed over the other party’s
major arguments or positions on major disputed issues in the court’s decision. If the party which
shall have commenced or instituted the action, suit or proceeding shall dismiss or discontinue it
without the concurrence of the other party, such other party shall be deemed the prevailing party.
Any such attorneys’ fees and other expenses incurred by either party in enforcing a judgment in
its favor under this Agreement shall be recoverable separately from and in addition to any other
amount included in such judgment, and such attorneys’ fees obligation is intended to be
severable from the other provisions of this Agreement and to survive and not be merged into any
such judgment. The provisions of this Paragraph 14(g) shall survive the Closing, or in the event
that the Closing does not occur, the termination of this Agreement.

                 (h)   Time of the Essence. Time is of the essence of this Agreement.

               (i)     Severability. If any provision of this Agreement, or the application
thereof to any person, place, or circumstance, shall be held by a court of competent jurisdiction
to be invalid, unenforceable or void, the remainder of this Agreement and such provisions as
applied to other persons, places and circumstances shall remain in full force and effect.

               (j)      Counterparts and PDF or Electronic Signatures. This Agreement may be
executed in one or more counterparts, each of which shall be deemed an original and all of
which, when taken together, shall be deemed to be one agreement. This Agreement may be
executed pursuant to original, emailed PDF or electronic signatures, with the same effect as if the
parties had signed the document pursuant to original signature. Each of the parties hereto agrees
and acknowledges that (i) the transaction consisting of this Agreement may be conducted by
electronic means, (ii) it is such party’s intent that, if such party signs this Agreement using an
electronic signature, it is signing, adopting and accepting this Agreement and that signing this
Agreement using an electronic signature is the legal equivalent of having placed its handwritten
signature on this Agreement on paper and (iii) it is being provided with an electronic or paper
copy of this Agreement in a usable format.

               (k)    Limited Liability. The obligations of Buyer are intended to be binding
only on Buyer and the property of Buyer, and shall not be personally binding upon, nor shall any
resort be had to, the private properties of any of its trustees, officers, beneficiaries, directors,
members, partners, or shareholders, or of its investment manager, the partners, officers, directors,
members, or shareholders thereof, or any employees or agents of Buyer or its investment
manager. The provisions of this Paragraph 14(k) shall survive the Closing, or in the event that
the Closing does not occur, the termination of this Agreement.

         16.     COLORADO-SPECIFIC PROVISIONS

               (a)    Non-Resident Withholding. Seller and Buyer agree and acknowledge that
Colorado Revised Statute §39-22-604.5 provides that in the case of any conveyance of a
Colorado real property interest, the person or party providing closing and settlement services
shall be required to withhold an amount equal to two percent (2%) of the sales price or the net

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proceeds resulting from such conveyance, whichever is less, when the transferor is a non-
resident of the State of Colorado. Seller shall be obligated to either comply with the withholding
requirements of C.R.S. §39-22-604.5 or provide an affidavit in form and content satisfactory to
the person or party providing closing and settlement services which certifies that Seller is not
subject to the withholding requirements.

                (b)     Methamphetamine Disclosure. If Seller knows that methamphetamine
was ever manufactured, processed, cooked, disposed of, used or stored at the Property, Seller is
required to disclose such fact. No disclosure is required if the Property was remediated in
accordance with state standards and other requirements are fulfilled pursuant to § 25-18.5-102,
C.R.S., Buyer further acknowledges that Buyer has the right to engage a certified hygienist or
industrial hygienist to test whether the Property has ever been used as a methamphetamine
laboratory. Buyer has the right to terminate this Agreement based on Buyer’s test results that
indicate the Property has been contaminated with methamphetamine, but has not been
remediated to meet the standards established by rules of the State Board of Health promulgated
pursuant to § 25-18.5-102, C.R.S. Buyer must promptly give written notice to Seller of the
results of any such test.

           (c)  Common Interest Community Disclosure. THE PROPERTY IS
LOCATED WITHIN A COMMON INTEREST COMMUNITY AND IS SUBJECT TO THE
DECLARATION FOR THE COMMUNITY. THE OWNER OF THE PROPERTY WILL BE
REQUIRED TO BE A MEMBER OF THE OWNERS’ ASSOCIATION FOR THE
COMMUNITY AND WILL BE SUBJECT TO THE BYLAWS AND RULES AND
REGULATIONS OF THE ASSOCIATION. THE DECLARATION, BYLAWS AND RULES
AND REGULATIONS WILL IMPOSE FINANCIAL OBLIGATIONS UPON THE OWNER
OF THE PROPERTY, INCLUDING AN OBLIGATION TO PAY ASSESSMENTS OF THE
ASSOCIATION. IF THE OWNER DOES NOT PAY THESE ASSESSMENTS, THE
ASSOCIATION COULD PLACE A LIEN ON THE PROPERTY AND POSSIBLY SELL IT
TO PAY THE DEBT. THE DECLARATION, BYLAWS AND RULES AND REGULATIONS
OF THE COMMUNITY MAY PROHIBIT THE OWNER FROM MAKING CHANGES TO
THE PROPERTY WITHOUT AN ARCHITECTURAL REVIEW BY THE ASSOCIATION
(OR A COMMITTEE OF THE ASSOCIATION) AND THE APPROVAL OF THE
ASSOCIATION.   BUYERS OF PROPERTY WITHIN THE COMMON INTEREST
COMMUNITY SHOULD INVESTIGATE THE FINANCIAL OBLIGATIONS OF MEMBERS
OF THE ASSOCIATION. BUYERS SHOULD CAREFULLY READ THE DECLARATION
FOR THE COMMUNITY AND THE BYLAWS AND RULES AND REGULATIONS OF THE
ASSOCIATION.

            (d)  Special Taxing Districts. SPECIAL TAXING DISTRICTS MAY BE
SUBJECT TO GENERAL OBLIGATION INDEBTEDNESS THAT IS PAID BY REVENUES
PRODUCED FROM ANNUAL TAX LEVIES ON THE TAXABLE PROPERTY WITHIN
SUCH DISTRICTS. PROPERTY OWNERS IN SUCH DISTRICTS MAY BE PLACED AT
RISK FOR INCREASED MILL LEVIES AND TAX TO SUPPORT THE SERVICING OF
SUCH DEBT WHERE CIRCUMSTANCES ARISE RESULTING IN THE INABILITY OF
SUCH A DISTRICT TO DISCHARGE SUCH INDEBTEDNESS WITHOUT SUCH AN
INCREASE IN MILL LEVIES. BUYERS SHOULD INVESTIGATE THE SPECIAL TAXING
DISTRICTS IN WHICH THE PROPERTY IS LOCATED BY CONTACTING THE COUNTY

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TREASURER, BY REVIEWING THE CERTIFICATE OF TAXES DUE FOR THE
PROPERTY AND BY OBTAINING FURTHER INFORMATION FROM THE BOARD OF
COUNTY COMMISSIONERS, THE COUNTY CLERK AND RECORDER, OR THE
COUNTY ASSESSOR.

                 (e)   Oil, Gas, Water and Mineral Disclosure.

                       (i)      Surface Use Agreement. The use of the surface estate of the
Property to access the oil, gas or minerals may be governed by a surface use agreement, a
memorandum or other notice of which may be recorded with the county clerk and recorder.

                        (ii)    Oil and Gas Activity. Oil and gas activity that may occur on or
adjacent to the Property may include, but is not limited to, surveying, drilling, well completion
operations, storage, oil and gas, or production facilities, producing wells, reworking of current
wells and gas gathering and processing facilities.

                      (iii)    Additional Information. BUYER is encouraged to seek additional
information regarding oil and gas activity on or adjacent to the Property, including drilling
permit applications. This information may be available from the Colorado Oil and Gas
Conservation Commission. THE SURFACE ESTATE OF THE PROPERTY MAY BE
OWNED SEPARATELY FROM THE UNDERLYING MINERAL ESTATE AND TRANSFER
OF THE SURFACE ESTATE MAY NOT NECESSARILY INCLUDE TRANSFER OF THE
MINERAL ESTATE OR WATER RIGHTS. THIRD PARTIES MAY OWN OR LEASE
INTERESTS IN OIL, GAS, OTHER MINERALS, GEOTHERMAL ENERGY OR WATER
ON OR UNDER THE SURFACE OF THE PROPERTY, WHICH INTERESTS MAY GIVE
THEM RIGHTS TO ENTER AND USE THE SURFACE OF THE PROPERTY TO ACCESS
THE MINERAL ESTATE, OIL, GAS OR WATER.

                 (f)   Source of Water. The source of water on the Property is a well.

           (g)  THE COLORADO DEPARTMENT OF PUBLIC HEALTH AND
ENVIRONMENT STRONGLY RECOMMENDS THAT ALL HOME BUYERS HAVE AN
INDOOR RADON TEST PERFORMED BEFORE PURCHASING RESIDENTIAL REAL
PROPERTY AND RECOMMENDS HAVING THE RADON LEVELS MITIGATED IF
ELEVATED RADON CONCENTRATIONS ARE FOUND. ELEVATED RADON
CONCENTRATIONSCAN BE REDUCED BY A RADON MITIGATION PROFESSIONAL.
RESIDENTAL REAL PROPERTY MAY PRESENT EXPOSURE TO DANGEROUS LEVELS
OF INDOOR RADON GAS THAT MAY PLACE THE OCCUPANTS AT RISK OF
DEVELOPING RADON-INDUCED LUNG CANCER. RADON, A CLASS A HUMAN
CARCINOGEN, IS THE LEADING CAUSE OF LUNG CANCER IN NONSMOKERS AND
THE SECOND LEADING CAUSE OF LUNG CANCER OVERALL. THE SELLER OF
RESIDENTAL REAL PROPERTY IS REQUIRED TO PROVIDE THE BUYER WITH ANY
KNOWN INFORMATION ON RADON TEST RESULTS OF THE RESIDENTIAL REAL
PROPERTY. AN ELECTRONIC COPY OF THE MOST RECENT BROCHURE
PUBLISHED BY THE DEPARTMENT OF PUBLIC HEALTH AND ENVIRONMENT IN
ACCORDANCE WITH C.R.S. §25-11-114(2)(A) THAT PROVIDES ADVICE ABOUT
“RADON AND REAL ESTATE TRANSACTIONS IN COLORADO” IS AVAILABLE AT:

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                 HTTPS://CDPHE.COLORADO.GOV/RADON-AND-REAL-ESTATE.

                (h)     Carbon Monoxide Alarms. If any of the Improvements on the Property
have a fuel-fired heater or appliance, a fireplace, or an attached garage and include one or more
rooms lawfully used for sleeping purposes (Bedroom), the parties acknowledge that Colorado
law requires that Seller assure that the Property has an operational carbon monoxide alarm
installed within fifteen feet of the entrance to each Bedroom or in a location as required by the
applicable building code.

                         [SIGNATURES APPEAR ON FOLLOWING PAGE]




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                 IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of
the date first above written.

             BUYER:                             CHIRON AVR LLC,
                                                a Delaware limited liability company

                                                By: UBS O’Connor LLC, as investment
                                                manager



                                                       By: __________________________
                                                       Name: BAXTER WASSON
                                                       Its: MANAGING DIRECTOR




                                                       By: __________________________
                                                       Name: RODRIGO TRELLES
                                                       Its: MANAGING DIRECTOR


             SELLER:                                   AVR AH LLC,
                                                       a Colorado limited liability company

                                                       By: __________________________
                                                       Name: DOUGLAS J. BRICKLEY
                                                       Its: CHIEF RESTRUCTURING
                                                       OFFICER




   [Signature Page to Purchase Agreement between CHIRON AVR LLC and AVR AH LLC]
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                          COUNTERPART SIGNATURE PAGE TO
                              PURCHASE AGREEMENT

                             DATED AS OF OCTOBER __, 2023

                                     (TITLE COMPANY)


        Title Company agrees to act as escrow holder and title company in accordance with the
terms of this Agreement and to act as the Reporting Person in accordance with Section 6045(e)
of the Internal Revenue Code and the regulations promulgated thereunder.


                                            FIDELITY NATIONAL TITLE INSURANCE
                                            COMPANY


                                            By:
                                            Name:
                                            Its:

                                            Date: ___________ __, 2023




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                                         EXHIBIT A

                               LEGAL DESCRIPTION OF LAND


THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF ASPEN, IN
THE COUNTY OF PITKIN, STATE OF COLORADO, AND IS DESCRIBED AS FOLLOWS:

Parcel A:

Homesteads 2, 3, 5, 6, and 7, according to the Second Amended Subdivision Exemption Plat,
Aspen Valley Ranch, recorded October 28, 2011 in Plat Book 98 at Page 49, County of Pitkin,
State of Colorado.

Parcel C:

Lots 7, 8 and 9, Aspen Valley Downs Subdivision P.U.D. according to the First Amended Plat of
Aspen Valley Downs Subdivision P.U.D. recorded March 22, 1999 in Plat Book 49 at Page 2 at
Reception No. 429063, County of Pitkin, State of Colorado.




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                                    EXHIBIT B

                            LIST OF PERSONAL PROPERTY


                                   [To be added]




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                                             EXHIBIT C

                               FORM OF SPECIAL WARRANTY DEED

                                  SPECIAL WARRANTY DEED

      This Special Warranty Deed (this “Deed”) is dated as of the ____ day of _______, 20__,
between ___________________________________, a ___________________________
(“Grantor”),    whose      address     is    ________________________________,           and
______________________________            (“Grantee”),         whose        address        is
__________________________________.

        WITNESSETH, that Grantor, for and in consideration of the sum of $10.00 and other
good and valuable consideration, the receipt and adequacy of which are hereby acknowledged by
Grantor, has granted, bargained, sold and conveyed, and by these presents does grant, bargain,
sell, convey and confirm unto Grantee, its successors and assigns forever, that certain real
property, together with all appurtenances and improvements located thereon, situate, lying and
being in the County of _________________, State of Colorado, more particularly described on
Exhibit A attached hereto and incorporated herein by this reference (the “Property”);

         TOGETHER WITH all easements and rights-of-way appurtenant thereto, all and singular
the hereditaments and appurtenances thereunto belonging, or in any ways appertaining, and the
reversion and reversions, remainder and remainders, rents, issues and profits thereof; and all the
estate, right, title, interest, claim and demand whatsoever, of Grantor, either in law or equity, of,
in and to the Property, expressly including (i) all of Grantor’s rights, title, and interest in and to
all oil and gas and oil and gas rights and mineral and mineral rights on, under, or appurtenant to
the Property (collectively, “Mineral Rights”), and (ii) all water and water rights, ditches and
ditch rights, reservoirs and reservoir rights, streams and stream rights, water wells and well
rights, whether tributary, non-tributary or not non-tributary, including, but not limited to all right,
title and interest under C.R.S. §37-90-137 on, underlying, appurtenant to or now or historically
used on or in connection with the Property, whether appropriated, conditionally appropriated or
unappropriated, and whether adjudicated or un-adjudicated, including, without limitation, all
State Engineer filings, well registration statements, well permits, decrees and pending water
court applications, if any, and all water well equipment or other personalty or fixtures currently
used for the supply, diversion, storage, treatment or distribution of water on or in connection
with the Property, and all water and ditch stock relating thereto (collectively, the “Water
Rights”).

       GRANTOR for itself, its successors and assigns, does covenant and agree that it shall and
will WARRANT AND FOREVER DEFEND the above-bargained Property in the quiet and
peaceable possession of Grantee, its successors and assigns, against all and every person or
persons claiming the whole or any part thereof, by, through or under Grantor, SUBJECT TO
those matters set forth on Exhibit B attached hereto and incorporated herein by this reference
(the “Permitted Exceptions”).


                   [Signature and acknowledgment appear on following page].


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         IN WITNESS WHEREOF, the undersigned has executed this Special Warranty Deed as of the
date set forth above.

                                         GRANTOR:

                                         _________________________________, a
                                         __________________________________

                                              By:
                                              Name:
                                              Its:



STATE OF ____________________)
                             ) ss.
COUNTY OF _________________ )

       The foregoing instrument was acknowledged before me this _____ day of __________, 20__, by
___________________________,               as             _____________________                of
_______________________________________.

                                                      Notary Public
My commission expires:




                              [Signature Page to Special Warranty Deed]
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                                  EXHIBIT A
                                     TO
                           SPECIAL WARRANTY DEED

                              LEGAL DESCRIPTION




                                     Exhibit A
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                                  EXHIBIT B
                                     TO
                           SPECIAL WARRANTY DEED

                            PERMITTED EXCEPTIONS




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                                           EXHIBIT D

                                    FORM OF BILL OF SALE

        For good and valuable consideration the receipt of which is hereby acknowledged,
___________________________, a ___________________ (“Seller”), does hereby sell,
transfer, and convey to _____________________________________ (“Buyer”), all personal
property owned by Seller and located on or in and used in connection with the Land and
Improvements (as such terms are defined in that certain Purchase Agreement dated as
of______________ __, 2023, between Seller and Buyer), including, without limitation, those
items described in Schedule A attached hereto. Seller hereby represents, warrants and covenants
to Buyer that title to said personal property is free and clear of all liens, encumbrances, claims
and exceptions of any kind or nature.

         DATED this ____ day of __________, 201__.

                   SELLER:                   ___________________________,
                                             a _________________________

By:
                                             Name:
                                             Its:

                                             By:
                                             Name:
                                             Its:




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                                                                   EXHIBIT A TO
                                                                   BILL OF SALE
                            LIST OF PERSONAL PROPERTY




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                                             EXHIBIT E

                       FORM OF ASSIGNMENT OF INTANGIBLE PROPERTY

       THIS ASSIGNMENT (“Assignment”) is made and entered into as of this ___ day of
____________, 201__, by ___________________________, a ________________________
(“Assignor”) to _____________________________________ (“Assignee”).

        FOR GOOD AND VALUABLE CONSIDERATION, the receipt of which is hereby
acknowledged, effective as of the Closing Date (as defined below), Assignor hereby assigns and
transfers unto Assignee all of Assignor’s right, title, claim and interest in and under:

        (A)     all transferable warranties and guaranties made by or received from any third
party with respect to any buildings, buildings component, structure, fixture, machinery,
equipment, or material situated on, contained in any buildings or other improvement situated on,
or comprising a part of any buildings or other improvement situated on, any part of that certain
real property described in Exhibit A attached hereto (the “Property”), including, without
limitation, those warranties and guaranties listed in Schedule 1 attached hereto (collectively,
“Warranties”);

        (B)    all of the service contracts and similar agreements listed on Schedule 2 attached
hereto (the “Service Contracts”); and

       (C)     any Intangible Personal Property (as defined in that certain Purchase Agreement
dated as of ____________ __, 2023 between Assignor and Assignee (the “Purchase
Agreement”)).

     ASSIGNOR AND ASSIGNEE FURTHER HEREBY AGREE AND COVENANT AS
FOLLOWS:

       1.       Assignor hereby agrees to indemnify Assignee against and hold Assignee
harmless from any and all cost, liability, loss, damage or expense, including, without limitation,
reasonable attorneys’ fees, to the extent resulting from the owner’s obligations under the Service
Contracts that relate to the period prior to the Closing Date.

        2.      Effective as of the Closing Date, Assignee hereby assumes all of the owner’s
obligations under the Service Contracts and agrees to indemnify Assignor against and hold
Assignor harmless from any and all cost, liability, loss, damage or expense, including, without
limitation, reasonable attorneys’ fees, to the extent resulting from the owner’s obligations under
the Service Contracts that relate to the period on or after the Closing Date.

         3.      If either party hereto fails to perform any of its obligations under this Assignment
or, if a dispute arises between the parties hereto concerning the meaning or interpretation of any
provision of this Assignment, and an action is filed, the prevailing party in any such action shall
be entitled to recover from the other party, in addition to any other relief that may be granted, its
court costs and reasonable attorneys’ fees and disbursements, including such incurred in
connection with any appeal. The prevailing party shall be determined by the court based upon an
assessment of which party’s major arguments made or positions taken in the proceedings could

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fairly be said to have prevailed over the other party’s major arguments or positions on major
disputed issues in the court’s decision. If the party which shall have commenced or instituted the
action, suit or proceeding shall dismiss or discontinue it without the concurrence of the other
party, such other party shall be deemed the prevailing party.

        4.      This Assignment may be signed in counterparts and all counterparts so executed
shall constitute one contract, binding on all parties hereto, even though all parties are not
signatory to the same counterpart.

        5.      This Assignment shall be binding on and inure to the benefit of the parties hereto,
their heirs, executors, administrators, successors in interest and assigns.

       6.      This Assignment shall be governed by and construed and in accordance with the
laws of the State of California.

       7.      For purposes of this Assignment, the “Closing Date” shall be the date of the
Closing (as defined in the Purchase Agreement).

        8.     The obligations of Assignee are intended to be binding only on Assignee and the
property of Assignee and shall not be personally binding upon, nor shall any resort be had to, the
private properties of any of its trustees, officers, beneficiaries, directors, members, or
shareholders, or of its investment manager, the general partners, officers, directors, members, or
shareholders thereof, or any employees or agents of Assignee or its investment manager.

       IN WITNESS WHEREOF, Assignor and Assignee have executed this Assignment the
day and year first above written.

                   ASSIGNOR:                  ___________________________,
                                              a _________________________

By:
                                              Name:
                                              Its:

                                              By:
                                              Name:
                                              Its:

                   ASSIGNEE:                                                                ,
                                              a



                                              By:

                                                        Its Authorized Representative



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                                                                     Schedule A to
                                                            Assignment of Service
                                                              Contracts Warranties
                                                                and Guaranties and
                                                          Other Intangible Property


                                 REAL PROPERTY




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                                                                      Schedule 1 to
                                                            Assignment of Service
                                                              Contracts Warranties
                                                                and Guaranties and
                                                          Other Intangible Property


                               LIST OF WARRANTIES




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                                                                      Schedule 2 to
                                                            Assignment of Service
                                                              Contracts Warranties
                                                                and Guaranties and
                                                          Other Intangible Property


                                LIST OF CONTRACTS




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                                    EXHIBIT F

                             INTENTIONALLY OMITTED




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                                              EXHIBIT G

                                       DUE DILIGENCE ITEMS


        1.      Copies of any and all Leases and all other occupancy agreements or licenses
affecting the Property.

        2.      Copies of all engineering and architectural plans and specifications and drawings
in Seller’s possession or reasonable control.

        3.     Copies of all surveys relating to the Property in Seller’s possession or reasonable
control and copies of any third party structural or physical reports or studies in Seller’s
possession or reasonable control regarding the physical condition of the Property.

       4.       Copies of the bills issued for the three (3) most recent fiscal years, including, if
available, the current fiscal year for all real estate taxes and personal property taxes and copies of
any and all notices pertaining to real estate taxes or assessments applicable to the Property.

        5.     Copies of all maintenance, repair, service, pest control and supply contracts
(including, without limitation, janitorial, and landscaping agreements), equipment rental
agreements and any other contracts or agreements relating to or affecting the Property that
involve an annual payment to the service provider or equipment lessor (when aggregated with all
other contracts with such person or its affiliates relating to the Property).

        6.     Copies of all maintenance, repair, service, pest control and supply contracts
(including, without limitation, janitorial, scavenger, and landscaping agreements), equipment
rental agreements and any other contracts or agreements relating to or affecting the Property
other than those identified in Paragraph 5 above and that will be assumed by Buyer at Closing.

        7.     Copies of all contracts for repairs or capital replacements to be performed at the
Property or covering such work performed during the two (2) years immediately preceding the
Effective Date for a contract price in excess of $10,000.

        8.      Copies of all certificates of occupancy, licenses, permits, authorizations and
approvals required by law or by any governmental authority having jurisdiction thereover in
respect of the Property, or any portion thereof, occupancy thereof or any present use thereof, to
the extent in Seller’s possession or reasonable control.

       9.      Copies of all guarantees, warranties and other documents or instruments
evidencing or relating to the Intangible Personal Property, to the extent in Seller’s possession or
reasonable control.

        10.     A list of (i) all reports, test results, analytical data, boring logs, and other studies
undertaken by or at the request of Seller and/or in Seller’s possession or reasonable control with
respect to the Property and the environmental condition thereof, (ii) all outstanding written
orders, directives and notices of governmental authorities in Seller’s possession or reasonable
control in connection with the environmental condition of the Property, and (iii) all

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correspondence to and from governmental authorities and environmental consultants in Seller’s
possession or reasonable control with respect to any unremediated environmental condition at or
about the Property.

         11.       Copies of insurance loss runs for the last five (5) calendar years and year to date.

       13.    Copies of all leases, contracts and other documents and information in Seller’s
possession regarding the O&G/Mineral Rights.




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                                           EXHIBIT H

                       FORM OF ASSIGNMENT OF DECLARANT’S RIGHTS


       This ASSIGNMENT OF DECLARANT’S RIGHTS (“Assignment”) is made as of
________, 202_ by AVR AH LLC, a Colorado limited liability company (“Assignor”), in favor
of [________], a [________] (“Assignee”).

                                          RECITALS:

       Pursuant to an Agreement of Purchase and Sale, dated as of _______________, 202_
(“Agreement”), between Assignor, as seller, and Assignee, as Buyer, Assignor has agreed to
convey to Assignee all of Assignor’s rights (“Declarant’s Rights”) as “Declarant” pursuant to
Section 2.18 of the Amended and Restated Declaration of Protective Covenants for Aspen Valley
Ranch dated August 20, 2021 and recorded August 20, 2021 as Reception No. 679690, Pitkin
County, Colorado (the “Declaration”).

       NOW, THEREFORE, in consideration of the foregoing premises, and of other good and
valuable consideration, the receipt and sufficiency of which are acknowledged, Assignor and
Assignee agree as follows:

        1.     Definitions. Capitalized terms used in this Agreement and not otherwise defined
herein shall have the meanings ascribed to them in the Agreement.

       2.      Assignment. Assignor hereby sells, assigns, conveys, transfers, and grants to
Assignee, all of its right, title and interest as Declarant under the Declaration

       3.      Further Assurances. Promptly upon request of the other party, Assignor and
Assignee shall each execute and deliver to the other such further assurances and take such further
actions as may be reasonably required or appropriate to perfect Assignor’s the transfer of the
Declarant’s Rights to Assignee and otherwise carry out the intent and purpose of this
Assignment.

        4.      Binding Effect and Assignment. This Assignment shall be binding upon and
inure to the benefit of Assignor and Assignee and their respective successors and assigns.

        5.   Governing Law. This Assignment shall be governed by and construed in
accordance with the laws of the State of Colorado (without reference to conflicts of laws
principles).

                                    [Signature page follows]




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       IN WITNESS WHEREOF, Assignor and Assignee have executed this Assignment of
Declarant’s Rights under seal as of the date first above written.

                                      ASSIGNOR:


                                      AVR AH LLC
                                      a Colorado limited liability company

                                      By:
                                      Name:
                                      Its:



STATE OF ___________  )
                      ) ss.
COUNTY OF ___________ )

        The foregoing instrument was acknowledged before me this ____ day of __________,
20___, by _______________________ as _______________ of AVR AH LLC, a Colorado
limited liability company.

         Witness my hand and official seal.

         My commission expires:


                                              ________________________________________
                                              Notary Public




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                                    EXHIBIT I

                             INTENTIONALLY OMITTED




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                                       EXHIBIT J

                   LIST OF SERVICE AGREEMENTS PROPOSED TO BE ASSIGNED


                                      To be added.




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                                    EXHIBIT K

                             INTENTIONALLY OMITTED




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                                    EXHIBIT L

                               FORM OF SALE ORDER




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                           EXHIBIT B
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                               

     
           


                                             

        

                   
        
        

                    
        

                 
        
        

      
        
        

                    
        
        
        

      
               
        
        

      inter alia
                   
        

                   



      

         


             
                                                     

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


                        
            




            



         
             
               
             



                      

         
        
            


      




                       
            

              











                                                      

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             

                  inter alia
                 


        

      

             

                



             

                  







               


              

 
              


         

             

               



         





                                                  

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                 
              




      

         


      

        


                  

             



             



                        




                           




            
           


                 


          
   




                                                  

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                



                            
               




                         


                 





                           
             


                    




            

                          





                           
            




      

        

          

               
                                                      

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             



            


                    




         


              
      



                      




                



        

      

          
               
          
               







          
           
         


                                                       

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          
          

       

       


           
      
          


              
       
         
          
         
 
        
       

          
      
         
  


         


        

        

       
          

          



          
        
        
           
           

                                         

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            
        

        
             
               



         

            




                    




      

                     



                        



 


                        
          Agreement Regarding
Design Guidelines and Association Rules and Regulations

Agreement Regarding Exercise of Declarant Control and Association Voting Rights


inter alia







                                                     

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             


              




              

                 



                 
            


               
          
             
           





                  
             

               

                


                              

         
        





                          




                                                       

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       

                      
              


                               


                             


                     



                                




                  


                     
             


                    





      

         



                  


                         


                           



                                                     

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


                 




                 
 



                 


                 


                



                   
              


                        


                


                  



                        



          



                

                

                                                    

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          
             






        



     

        


                           
               

             


                                   



                          



                          



                                   





                             



                          



                                                     

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               


                



                



                 

              


        


               


                 

                  
              


                 
           



     

         


                           









                 

                                                     

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



                 




                  

               




              




            

                 
               

            
               




                  




               



            


                            
              
         


                                                       

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     

                    



                             





                            



              








                             

         
              



                 



          
                



               

              
               

             


                                                      

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
                 

 

     

                     


             
          




                       
               



            
            
             


               


 


     

        

                 

             


     

                   





                                                      

        Case 23-90757 Document 245 Filed in TXSB on 11/09/23 Page 96 of 140



              
               
                   
                 


        

        
        
        
        
        
        

        

        

        
        
        
        

        
        
        
        
        
        
        

        

        

        



     

                         

                




                                                      

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    

         







                 
            








                  









                         

              


         




            


                          


         
   

                                                  

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                   


                


         


        



         

          
              
         




         

             





                    





         



         


                 


         


                                                      

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


          



           


     

                  








                






            





       


           
         


           
          

         
         

        

                                                  

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
       
          


       
        


           
          
         



        


          

                  




                     





                  
         
       
         
        

         
          

          
            


          

         


                                               

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





                       [SIGNATURES APPEAR ON FOLLOWING PAGE]




                                                

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      


                                 

                                 
                                 


                                 
                                  Douglas J. Brickley
                                  Chief Restructuring Officer

                                 Date    November 7, 2023




                                 
                                 


                                 
                                 
                                        Managing Partner
                                 

                                 
                                               24
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                              
                         

                         
                       
                         
                             
                                  
                       
                         
                         




                                    

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                                

                    

 

           
      
  


 

 
   
 
 




                                    

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                                        

                      

             
 




                                              

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                                                    

                                

                                        

         


             






        

                                                      
                                                      


                                                      
  
                      
 

       



        

        


                                                      
                                                      




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                                    
                            

                             

 

           

             


 

   
          
       
 




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                                         
                                 
                                    

      




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                                                

                     
               



                                                

                   
            
            
     



        
              



                    
           



       

             


        


       


                                         [Signature page follows]




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        


                                            

                                            
                                            

                                            
                                            
                                            



  
                      
 

       



       

       


                                                     
                                                     




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                                           

                                           
                                           

                                           
                                           
                                           


  
                      
 

       



      

      

                                                    
                                                    




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                                             
                                         

                                                

        

           

             


              


            


                          


              

            



                         



           


        

            



         





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      


                                            


                                            
                                            

                                            
                                            
                                            



  
                      
 

       



       

       


                                                     
                                                     




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                          

 

           

             


 

   
          
       
 




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                                 

                           

                              




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                                 

                           

                              
                               




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                           EXHIBIT C
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                                          EXHIBIT C
                                    HOA REAL PROPERTY
All of the real property, fixtures and improvements of the Aspen Valley Ranch Home Owners
Association, Inc., including the following:
   1. LOT I, LOT II, LOT III, LOT IV, LOT V (DRY WOODY CREEK TRUST PARCEL)
      LOT VI AND LOT VII, ACCORDING TO THE SECOND AMENDED SUBDIVISION
      EXEMPTION PLAT, ASPEN VALLEY RANCH, RECORDED OCTOBER 28, 2011 IN
      PLAT BOOK 98 AT PAGE 49.

       COUNTY OF PITKIN
       STATE OF COLORADO.

   2. AGRICULTURAL FACILITIES PARCEL, ACCORDING TO THE SECOND
      AMENDED SUBDIVISION EXEMPTION PLAT, ASPEN VALLEY RANCH,
      RECORDED OCTOBER 28, 2011 IN PLAT BOOK 98 AT PAGE 49.

       COUNTY OF PITKIN
       STATE OF COLORADO.

   3. HOMESTEAD 1 , ACCORDING TO THE SECOND AMENDED SUBDIVISION
      EXEMPTION PLAT, ASPEN VALLEY RANCH, RECORDED OCTOBER 28, 2011 IN
      PLAT BOOK 98 AT PAGE 49.

       COUNTY OF PITKIN
       STATE OF COLORADO.

   4. A TRACT OF LAND SITUATED IN LOT 1, SECTION 4, AND LOT 1, SECTION 5,
      TOWNSHIP 9 SOUTH, RANGE 85 WEST OF THE 6TH P.M., MORE FULLY
      DESCRIBED AS FOLLOWS:

       BEGINNING AT A POINT ON THE WEST LINE OF SAID LOT 1, SECTION 5,
       WHENCE THE NORTHWEST CORNER OF SAID LOT 1, SECTION 5 BEARS N 00°
       06'08" W 628.22
       THENCE N 00° 06'08" W 628.22 FEET TO THE NORTHWEST CORNER OF SAID
       LOT 1, SECTION 5;
       THENCE N 89° 59'59" E 992.08 FEET ALONG THE NORTH LINE OF SAID LOT 1,
       SECTION 5 AND LOT 1, SECTION 4;
       THENCE S 00° 00'00" W 823.12 FEET TO THE CENTER OF DRY WOODY CREEK;
       THENCE S 45° 11'00" W 23.22 FEET ALONG THE CENTER OF DRY WOODY
       CREEK;
       THENCE S 52° 12'00" W 195.35 FEET ALONG THE CENTER OF DRY WOODY
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       CREEK;
       THENCE S 79° 41'00" W 263.65 FEET ALONG THE CENTER OF DRY WOODY
       CREEK;
       THENCE N 56° 00'00" W 676.38 FEET TO THE POINT OF BEGINNING.

       BEING HISTORICALLY DESCRIBED AS FOLLOWS:

       A TRACT OF LAND SITUATED IN LOT 1, SECTION 4, AND LOT 1, SECTION 5,
       TOWNSHIP 9 SOUTH, RANGE 85 WEST OF THE 6TH P.M., MORE FULLY
       DESCRIBED AS FOLLOWS:

       BEGINNING AT A POINT ON THE WEST LINE OF SAID LOT 1, SECTION 5
       WHENCE THE WITNESS CORNER TO THE SOUTHEAST CORNER OF SAID
       SECTION 5 BEARS S 04° 33' E 2572.12 FEET;
       THENCE N 626.37 FEET TO THE NORTHWEST CORNER OF SAID LOT 1;
       THENCE EAST 989.82 FEET ALONG THE NORTH LINE OF SAID LOT 1,
       SECTION 5 AND LOT 1, SECTION 4;
       THENCE S 823.52 FEET TO THE CENTER OF DRY WOODY CREEK;
       THENCE S 45° 11' W 23.22 FEET ALONG THE CENTER OF DRY WOODY CREEK;
       THENCE 79° 41' W 263.65 FEET ALONG THE CENTER OF DRY WOODY CREEK;
       THENCE N 56° W 674.97 FEET TO THE WEST LINE OF SAID LOT 1, SECTION 5,
       THE POINT OF BEGINNING.

       COUNTY OF PITKIN
       STATE OF COLORADO

   5. LOT 6, ASPEN VALLEY DOWNS SUBDIVISION P.U.D. ACCORDING TO THE
      FIRST AMENDED PLAT OF ASPEN VALLEY DOWNS SUBDIVISION P.U.D.
      RECORDED MARCH 22, 1999 IN PLAT BOOK 49 AT PAGE 2 AT RECEPTION NO.
      429063.

       COUNTY OF PITKIN
       STATE OF COLORADO.
Also described as:
Parcel A:
HOMESTEAD 1, ACRICULTURAL FACILITIES PARCEL AND PARCELS I THROUGH VII,
RURAL AND REMOTE PARCELS, ACCORDING TO THE SECONDED AMENDED
SUBDIVISION EXEMPTION PLAT, ASPEN VALLEY RANCH, RECORDED OCTOBER 28,
2011 IN PLAT BOOK 98 AT PAGE 49,
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Parcel B:
A TRACT OF LAND SITUATED IN LOT 1, SECTION 4, AND LOT 1, SECTION 5,
TOWNSHIP 9 SOUTH, RANGE 85 WEST OF THE 6TH P.M., MORE FULLY DESCRIBED
AS FOLLOWS:
BEGINNING AT A POINT ON THE WEST LINE OF SAID LOT 1, SECTION 5, WHENCE
THE NORTHWEST CORNER OF SAID LOT 1, SECTION 5 BEARS NORTH 00 DEGREES
06 MINUTES 08 SECONDS WEST 628.22 FEET; THENCE NORTH 00 DEGREES 06
MINUTES 08 SECONDS WEST 628.22 FEET TO THE NORTHWEST CORNER OF SAID
LOT 1, SECTION 5; THENCE NORTH 89 DEGREES 59 MINUTES 59 SECONDS EAST
992.08 FEET ALONG THE NORTH LINE OF SAID LOT 1, SECTION 5 AND LOT 1,
SECTION 4; THENCE SOUTH 00 DEGREES 00 MINUTES 00 SECONDS WEST 823.12
FEET TO THE CENTER OF DRY WOODY CREEK; THENCE SOUTH 45 DEGREES 11
MINUTES 00 SECONDS WEST 23.22 FEET ALONG THE CENTER OF DRY WOODY
CREEK; THENCE SOUTH 52 DEGREES 12 MINUTES 00 SECONDS WEST 195.35 FEET
ALONG THE CENTER OF DRY WOODY CREEK; THENCE SOUTH 79 DEGREES 41
MINUTES 00 SECONDS WEST 263.65 FEET ALONG THE CENTER OF DRY WOODY
CREEK; THENCE NORTH 56 DEGREES 00 MINUTES 00 SECONDS WEST 676.38 FEET
TO THE POINT OF BEGINNING,
Being historically described as follows:
A TRACT OF LAND SITUATED IN LOT 1, SECTION 4, AND LOT 1, SECTION 5,
TOWNSHIP 0 SOUTH, RANGE 85 WEST OF THE 6TH P.M., MORE FULLY DESCRIBED
AS FOLLOWS:
BEGINNING AT A POINT ON THE WEST LINE OF SAID LOT 1, SECTION 5 WHENCE
THE WITNESS CORNER TO THE SOUTHEAST CORNER OF SAID SECTION 5 BEARS
SOUTH 04 DEGREES 33 MINUTES EAST 2572.12 FEET; THENCE NORTH 626.37 FEET
TO THE NORTHWEST CORNER OF LOT 1; THENCE EAST 989.82 FEET ALONG THE
NORTH LINE OF SAID LOT 1, SECTION 5, AND LOT 1, SECTION 4; THENCE SOUTH
823.52 FEET TO THE CENTER OF DRY WOODY CREEK; THENCE SOUTH 45 DEGREES
11 MINUTES WEST 23.22 FEET ALONG THE CENTER OF DRY WOODY CREEK;
THENCE 79 DEGREES 41 MINUTES WEST 263.65 FEET ALONG THE CENTER OF DRY
WOODY CREEK; THENCE NORTH 56 DEGREES WEST 674.97 FEET TO THE WEST
LINE OF SAID LOT 1, SECTION 5, THE POINT OF BEGINNING,
COUNTY OF PITKIN, STATE OF COLORADO.
Parcel C:
LOT 6, ASPEN VALLEY DOWNS SUBDIVISION P.U.D. ACCORDING TO THE FIRST
AMENDED PLAT OF ASPEN VALLEY DOWNS SUBDIVISION P.U.D. RECORDED
MARCH 22, 1999 IN PLAT BOOK 49 AT PAGE 2 AT RECEPTION NO. 429063,
COUNTY OF PITKIN, STATE OF COLORADO.
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                                                  HOA Assets

 (in the case of each asset listed, solely to the extent such asset was owned by the Seller and on the HOA Real
                      Property as of August 21, 2021 or purchased by the HOA thereafter)

Concierge Cabin

 #       Asset Description

 1       Art – 5 pieces located within the Concierge Cabin.

 2       Desk x2

 3       Bench

 4       Fireplace Tool Set

 5       Bathroom

 6       Concierge Cabin Kitchen

 7       Trash Can x2

 8       Chair Outside Upper Office Cabin

 9       Leather Desk Chair x4

 10      Cabinet

 11      Computer x2

 12      White Fur Chair x2

 13      Small Side Table x2

 14      Back Media Console

 15      Coat Rack

 16      Large Wall Map of Ranch

 17      Desk Chair

 18      Desk Lamp x2

 19      Gold Bowls And Statues

 20      Leather Chair

 21      White Rug

 22      Fire Extinguisher

 23      Floor Lamp x2

 24      TV Above Fireplace

 25      Wooden Bowl

 26      Decorative Book x2




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 27      Side Table

 28      Tissue Box

 29      Paper Towel Holder

 30      Toilet

 31      Leaf Blower

 32      Mutiple Towels

 33      Printer

 34      Electric Kettle

 35      Microwave

 36      Various Misc. Dishes and Cleaning Supplies

 37      Tea Box

 38      Wine Fridge - Not On (Does Not Cool Down Properly)

 39      Various statues and stands

 40      Plant

 41      Lamps

 42      Space Heater

 43      Chairs

 44      Sofa

 45      TV

 46      Coffee Cabinet

 47      Nespresso

 48      Glassware

 49      Rug

 50      Printer

 51      Bug Spray Can

 52      Water Backstock



Landscape Art

 #       Asset Description

 1       Art – 5 pieces located outside on the AVR grounds.




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Pool House

 #       Asset Description

 1       All Kitchenware, Glassware, and Linens located inside the Pool House.

 2       Art – 5 pieces located within the Pool House.

 3       Refrigerator

 4       Ice Machine

 5       Washer and Dryer in Laundry Room

 6       Treadmill

 7       Rowing Machine

 8       Stationary Bikes

 9       Pilates Reformer

 10      Peloton

 11      Nordic Track

 12      Elliptical

 13      Paramount Free Motion Workout Stations

 14      Paramount Station

 15      Paramount Bench Press

 16      Dumbbell set 1 of 2

 17      Dumbbell set 2 of 2

 18      Assorted Yoga and Workout Accessories

 19      Paramount Squat Station

 20      EliteFTS Station

 21      Outdoor Shower Outside of Steam Shower

 22      Lockers with Benches x4 in Two Locker Rooms

 23      Vanity x2 in Two Locker Rooms

 24      Jacuzzi with Soft and Stone Cover

 25      Steam Shower

 26      Nespresso

 27      iPad



Ranch House



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 #       Asset Description

 1       Art – 11 Pieces located within the Ranch House

 2       All kitchenware, glassware, and linens located inside the Ranch House

 3       Ranch House Kitchen

 4       Viking Range

 5       Wolf Ovens

 6       Refrigerator

 7       Ice Machine

 8       Freezers

 9       Espresso Machine

 10      Microwave

 11      Camera System for Dining Room

 12      Telephone

 13      Nespresso

 14      Assorted Cooking/Catering Equipment in Pantry

 15      Dining Table with 16 Chairs

 16      Chairs in Wine Room Area

 17      Wine Room Service Area

 18      Wine Cellar With Various Bottles

 19      Dining Room Service Station

 20      Dining Room Light Fixture

 21      Grand Piano

 22      Steam Shower

 23      Buffet Table

 24      Custom Built in Movie Theater Seating

 25      Antique Hutch

 26      Chairs in Great Room x4

 27      Coffee Tables and Bench – Living Room

 28      Coffee Tables and Bench – Living Room #2

 29      Couch




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 30        Entryway Bench

 31        Entryway Couch, Chair and Lights

 32        Entryway Hutch and Sculpture

 33        Movie Theater Screen

 34        Bathrooms x2

 35        Benches In Great Room

 36        Great Room Couch

 37        End Tables

 38        Accent Chair

 39        Binoculars With Stand

 40        Couches

 41        Coffee Table

 42        Light Fixtures

 43        Decorative Dishes

 44        Candy Jar Stand

 45        Barstools x6

 46        Bar Light Fixture

 47        Bar

 48        Various Liquor Bottles

 49        iPads x2



Toy Barn

 #         Asset Description

 1         Art – 12 pieces located within the Toy Barn

 2         Skee-Ball Game

 3         Ping Pong Table

 4         Polaris Razr

 5         KTM Dirtbikes x4

 6         ATVS x8

 7         Rocky Mountain E Bikes x4




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 8       Child's Dirt Bike

 9       Air Hockey Table

 10      Elby Electric Bikes x10

 11      Kids Fat Bikes x6

 12      iPad at Entryway

 13      Rear Closet Air Compressor

 14      Gas Can/Tool Cabinet

 15      Dirt Bike

 16      ATV Ramps x2

 17      Samsung Refrigerator

 18      Bathroom

 19      Bike Helmets

 20      Snowmobile Helmets

 21      Gladiator Vehicle Maintenance Cabinet Various Oils

 22      Work Bench Tool Cabinet

 23      Various Tools in Cabinet

 24      Gladiator Tool Chest with Various Tools

 25      Vehicle Bike Rack

 26      Snowshoe Poles

 27      Pairs of Snowshoes x10

 28      Backpack x5

 29      Snowsuits. 1 Piece And 2 Piece

 30      Helmets

 31      First Aid Kits

 32      Mittens and Gloves

 33      Various Coolers

 34      Pinball Game x2

 35      Foosball Table

 36      Multi-Arcade Game

 37      Arcade Racing/Flight Sim Game x3




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 38      Loveseat Couch

 39      L Shaped Couch

 40      Lighting Fixtures

 41      Coffee Table

 42      TV

 43      Dishwasher

 44      A/V Racks

 45      Cruiser Bike x8

 46      All kitchenware, glassware, linens, and machinery located inside the Toy Barn

 47      Sound System

 48      TV Cabinet

 49      Ice Machine x2

 50      Refrigerator with 2 Drawers of Nespresso

 51      Telephone

 52      Popcorn Machine

 53      Barstools x8

 54      Various Goggles



Equine Barn

 #       Asset Description

 1       Tack Rooms x2

 2       Saddles x7

 3       Whips

 4       Barrels

 5       Round Pen

 6       Shed with Winter Equipment

 7       Horse Stall x8

 8       Blanket Rack

 9       Mini Fridge x2

 10      Printer x2




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 11      Paper Tray

 12      Storage Supply Stall with Daily Equipment Use

 13      Office

 14      Sink

 15      Washer

 16      Dryer

 17      Cabinets

 18      Drawers

 19      Computer

 20      Bridles

 21      Reins

 22      Barn Aisle x2

 23      Saddle Stands

 24      Saddle Pads

 25      Helmet Bins



Equipment Barn

 #       Asset Description

 1       GMC with Snowplow

 2       Loft Storage of Extra Dishes

 3       Loft Storage of Misc. Items

 4       Loft Storage: Misc. Light Fixtures Etc.

 5       Loft Storage Paints

 6       Boxes of Balls

 7       Golf Cart for Concierge x2

 8       Hoses

 9       Table Saw and Recycle Bin

 10      Weedwhacker x2

 11      Tools

 12      Toolbox




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 13      Misc. Tools and Kits

 14      Landscaping Side by Sides (4 Total)

 15      Employee Kitchen

 16      Storage Closet

 17      Landscaping Managers Office x2

 18      Office Cubicles

 19      Office

 20      Landscaping Cabinet

 21      Folding Chairs

 22      [Omitted]

 23      Wash Bay Horsy Pressure Washer Machine

 24      Wash Bay Closet Shop Vacuum

 25      [Omitted]

 26      Kitchen Ware

 27      Humidifiers

 28      Glassware

 29      Buckets of Paint

 30      Cones

 31      Tupperware

 32      Equipment

 33      Housekeeping Golf Cart x2

 34      Buckets

 35      Tools

 36      Compressors

 37      Paint Tools

 38      Game Items

 39      Power Jack

 40      Microwaves

 41      Cart

 42      Cones




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 43      Saw

 44      Cutting Board and Dishes

 45      Golf Cart Tires

 46      Wine Glasses

 47      Dog Beds

 48      Tool Cart

 49      Snacks

 50      Shelving

 51      Kitchen Items

 52      Radios for Communication

 53      Stations

 54      Ranch Manager Desk and Items

 55      Navigator Tires

 56      Trash Can x2

 57      Lincoln Navigator SUV (Used by Concierge)

 58      Ford F150 Maintenance Truck

 59      Maintenance Cabinet of Products

 60      Maintenance Misc. Tools and Parts

 61      Landscaping Misc. Chemicals and Oils

 62      Maintenance Kawaski Side by Side

 63      Landscaping Leaf Blower Backpack Tools

 64      Flammable Material Cabinets

 65      Landscaping Fertilizer Cart

 66      Landscaping Chainsaws

 67      Maintenance Bench and Tools

 68      Paddleboards x2

 69      Employee Kitchen: Fridge

 70      Conference Table

 71      Storage Closet

 72      Water Backstock- Flat and Sparkling




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 73      Wash Bay Items

 74      Wash Bay Closet Air Compressor

 75      Oils

 76      Containers

 77      Shelving

 78      Toilet

 79      Sink

 80      Chairs

 81      Portable Ac Unit

 82      Paper Towels

 83      Sprays

 84      Storage Racks

 85      Buckets

 86      Coffee Maker

 87      Dry Erase Board

 88      Cabinets

 89      Coolers

 90      Sandbags

 91      Electrical Parts

 92      Misc. Chemicals

 93      Wire

 94      Backpack Weed Sprayers




Hay Barn

 #       Asset Description

 1       Fire Extinguisher

 2       Hay Bales

 3       Landscaping Machines

 4       ATV’s x3




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 5       ATV Snow Tracks

 6       Bobcat Plows

 7       Wood Shavings for The Stables

 8       Track Plow

 9       ATV Tires

 10      Landscaping Machines

 11      Landscaping Tractor Part

 12      Insulation

 13      Misc. Tubing

 14      Tires and Plumbing Insulation




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Misc Storage / Pond

 #       Asset Description

 1       Pond Dock

 2       Pond Shed Storage.

 3       Pond Storage

 4       Landscaping Water Tanks x2

 5       Snowblowers x3

 6       Toro Mower and Parts (Leased)

 7       Tackle Boxes

 8       Scag Mower x2

 9       John Deer Tractor

 10      Conex Storage Container x2

 11      Trailer x2

 12      Massey Ferguson Tractor

 13      Motorcycle Trailer and Bucket for Skid Steer Tractor

 14      Fishing Equipment

 15      Sup Pump

 16      Lawn Mower

 17      Shelving with Misc. Equipment Parts

 18      Riding Mower

 19      John Deer Mower

 20      Snow Removal/ Gravel

 21      Skid Steer

 22      Gopher Hole Sealer

 23      Salt Spreader

 24      Landscaping Machine x2

 25      Flatbed and Snowmobile

 26      Paddle

 27      Mini Excavator

 28      Trash Container




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 29      Misc. Attachments




Potato Barn

 #       Asset Description

 1       Chewy Boxes (Not HOA - Owners)

 2       Misc. Equine Items

 3       Snowmobiles- Touring (6 Total in Potato Barn)

 4       Tree Fencing

 5       Lawnmower

 6       Snowmobile/ATV Tracks for Winter

 7       Snowmobiles - Sport (6 Total in Potato Barn)

 8       Irrigation Piping and Parts

 9       Christmas Light Storage

 10      Landscaping/Aerator

 11      Mower Deck for John Deer Tractor

 12      Firewood

 13      Landscaping: Irrigation Guns for Fields

 14      Post Hole Digger

 15      Electrical Cord Storage

 16      Landscaping Equipment

 17      Buckets

 18      Hub Caps

 19      Mower Deck

 20      Rototiller

 21      Misc. Piping

 22      John Deer Chemical Tanks

 23      Storage Shelving

 24      Posters

 25      Water Tank Heater




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 26      Black Storage Containers



Bourg Cabin

 #       Asset Description

 1       Art – 5 pieces located in the Bourg Cabin

 2       Scones x 2

 3       Metal Artwork

 4       Console table

 5       Candles x 2

 6       Glass votive lamp decorations x 2

 7       Hanging mirror

 8       Floor lamp

 9       Chairs x 2

 10      Side table

 11      Decorative books

 12      Throw blanket

 13      4 decorative pillows

 14      Shelving with misc. decorative items/books

 15      Stairway mirror

 16      Dining room table and four chairs

 17      Fruit bowl and fruit centerpiece

 18      Rug

 19      Mirror

 20      Pendant

 21      Keys to cabin

 22      Living room TV

 23      2 Ottomans

 24      Artwork in dining room

 25      Living room rug

 26      Coffee table




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 27      Monopoly game

 28      Table trays with misc. items x 2

 29      Book

 30      Side table with lamp and tissue box

 31      1 of 2 couches in living room

 32      4 pillows

 33      Coasters

 34      Woody Allen artwork

 35      Refrigerator

 36      Glass canisters

 37      Sink

 38      Floor mat

 39      2 of 2 couches in living room

 40      Wood side table

 41      4 decorative pillows

 42      Dishes

 43      Cutting board

 44      Toaster

 45      Electric Kettle

 46      Glassware

 47      Hand soap and lotion set

 48      Paper towel holder

 49      Runner rug

 50      Trash can

 51      Stove and range

 52      Nespresso coffee station

 53      Milk frother

 54      Tea box

 55      Utensils and holder

 56      Living room rug




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 57      Mud room bench and wall hooks

 58      Washer and dryer in closet

 59      Stairway pendant

 60      Guest room queen bed and bedding, headboard

 61      Night stands x 2

 62      2 wall scones

 63      Decorative items in Guest room

 64      Savant Pad

 65      Guest Bathroom accessories, mirror, hand towels

 66      Guest bedroom TV

 67      Guest bathroom scale, hamper, bath mat

 68      Master bedroom TV

 69      Master bedroom dressers x 2

 70      Master bedroom floor lamp and wood stump

 71      Closet shelving (both bedroom closets)

 72      Master bedroom King bed, bedding and pillows

 73      Chaise lounge chair

 74      Master bedroom Nightstands x 2

 75      Master bedroom wall scones x 2

 76      Master bedroom decorative items

 77      Master bedroom Savant Pad

 78      Master bedroom window curtains and rod

 79      Master bath, bath mats, trash can, facial mirror, hand soap set, towels, tissue box

 80      Master bath hamper, scale, shower stool and mat

 81      Molton Brown bath products

 82      Master bath toilet, scrubber, tissue holder, and spray

 83      All kitchenware, glassware, and linens located inside the Bourg Cabin

 84      All bedding and sheets in Bourg Cabin

 85      Bourg Cabin kitchen dishes, bowls, cutting boards, tupperware, skillets and utensils

 86      Bourg Cabin bathroom items, robes, cloths, mats, and towels




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 87      Various wines, beers, drinks and liquor bottles




Independence House

 #       Asset Description

 1       Art – 10 pieces located in the Independence House

 2       All bedding, sheets, and covers in Independence House

 3       All bath rugs, bathmats, robes, towels, and wash cloths in Independence House

 4       All kitchenware, utensils, bowls, dishes, platters, bowls, and placemats in Independence House

 5       Various liquor bottles, wine bottles, beer, and drinks in Independence House

 6       Tupperware, cutting boards, skillets, pots, pans, and cooking utensils

 7       Blenders, toaster, kettle, coffee machine

 8       Vacuum, iron and ironing board

 9       Steamer

 10      Pillow and blanket bags

 11      Small and large broom and dustpan

 12      Safe

 13      Toilet brush and plunger

 14      Wooden hangers, children’s hangers, and satin hangers

 15      Master bedroom bed

 16      Master bedroom nightstands x 2

 17      Master bedroom rug

 18      Master bedroom dresser

 19      Master bedroom TV

 20      Master bedroom accent chair

 21      Master bedroom side chair

 22      Accent table outside of Master bedroom

 23      Dinging table

 24      Entryway cabinets




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 25      Living room couch

 26      Coffee table and end table

 27      Accent chair and table in living room

 28      Telephone

 29      Living room TV

 30      Kitchen barstools x 5

 31      Refrigerator

 32      Microwave

 33      Dishwasher

 34      Oven

 35      Washer and dryer in Laundry room

 36      2nd Bedroom bed, nightstands, and lamps

 37      2nd Bedroom rug

 38      2nd Bedroom dresser

 39      2nd Bedroom TV

 40      3rd Bedroom bed

 41      3rd Bedroom side tables x 2

 42      3rd Bedroom rug




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